     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 1 of 100 Page ID #:1




                                                                                                     .,---
 1    Arogant Hollywood                                                                              ~
      Alison Helen Fairchild                                                                                 '.'
 z    1308 E. Colorado Blvd.
 3
      Pasadena, CA 91106                                                                                           FEB 13 2011
      Mobile:(213)447-8922
 4
      Email: causeofaction38~a;gmail.com
 5
                                                    UNITED STATES DISTRICT COURT
 6

                                               DISTRICT OF THE STATE OF CALIFORNIA

 8                                             CENTRAL DISTRICT,WESTERN DIVISION

 9

~o
ii    AROGANT HOLLYWOOD,                                                           ~ 11~3
      ALISON HELEN FAIRCHILD,
12

13                      Plaintiff(s),

14             VS.                                                        CIVIL RIGHTS COMPLAINT
15    CARASSO FAMILY TRUST(Doing Business as

16    Studio Lodge Hotel),

i~    STUDIO LODGE HOTEL,
             10
18    DOES 1-~,INCLUSIVE,

19                      Defendants)

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28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 1 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 2 of 100 Page ID #:2




       VERIFIED COMPLAINT FOR DAMAGES AND DECLARATORY and INJUNCTIVE
      RELIEF for: VIOLATIONS OF THE AMERICAN WITH DISABILITIES ACT of 1990 [42
      U.S.C. § 12203](retaliation, intimidation, threats, and interference of civil rights),
      VIOLATIONS OF THE AMERICAN WITH DISABILITIES ACT of 1990 [42 U.S.C.§
      12101, et seq.], VIOLATION OF CALIFORNIA CIVIL CODE §§ 54,54.1 & 54.3, et seq
     (denial of full and equal access); VIOLATIONS OF CALIFORNIA HEALTH &SAFETY
      CODE § 19955, et. seq (denial of accessible sanitary facilities) VIOLATION OF
      CALIFORNIA CIVIL CODE § 51, et seq[ THE UNRUH CIVIL RIGHTS ACTS](denial of
      access to full and equal accommodation, advantages,facilities, privileges and services),
io    VIOLATION OF CALIFORNIA CIVIL CODE § 51.5, VIOLATION OF CALIFORNIA
ii    CIVIL CODE § 51.7, VIOLATION OF CALIFORNIA CIVIL CODE § 52.1,
12    DISCRIMINATION OF THE CIVIL RIGHTS ACT of 1964 [42 U.S.C.§ 1981],),,
13    DISCRIMINATION OF THE CIVIL RIGHTS ACT of 1964[42 U.S.C.§ 1985](conspiracy ~
14    interfere with civil rights); § 1986(neglect to prevent deprivation of rights); INTENTIONAL
15    INFLICTION OF EMOTIONAL DISTRESS,NEGLIGENT INTENTIONAL INFLICTION
16    OF EMOTIONAL DISTRESS,CIVIL CONSPIRACY,NEGLIGENCE,NEGLIGENCE
i~    SUPERVISION and/or RETENTION,
18

19            This lawsuit is brought due to violations by Defendants of, inter alia, public access laws
20    under the ADA,structural physical barriers for access by a disabled Alison Helen Fairchild.
21            Defendants' conduct is and was a pattern and practice of intentional exclusion of a African-
22    American man and his disabled fiancee, due to protected characteristics of race, gender, and
23    disability in direct violation of provisions of the Americans with Disabilities Act of 1990("ADA"),
24    42 U.S.C. § 12101, ET SEQ., the Civil Rights Act of 1964, 42 U.S.C. §§ 1981, 1985, 1986 and, and
2s    the egregious actions undertaken by Defendants and/or those acting under their association or
26    affiliation with Defendants against a black man protected from discrimination under the above
27

2s    stated statutes, and a disabled woman named Alison Helen Fairchild.
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     LIED
     -Page 2 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 3 of 100 Page ID #:3




               Defendants Carasso Family Trust and Studio Lodge Hotel violated state laws by their
      negligence, negligent retention and/or supervision, negligent intentional infliction of emotional
      distress, intentional infliction of emotional distress, civil conspiracy, gross negligence, breach of

      quiet enjoyment, and breach of the warranty of habitability.

               Defendants on several occasions intentionally discriminated against Plaintiff Arogant

      Hollywood, an African-American. Defendants discriminated against Plaintiff Hollywood by telling
      him he would have to check out in 28 days, by failing to repair his residential hotel room and by
      requesting that he vacate his residential hotel room whenever Plaintiff Hollywood made a complaint

      about excessive noise, especially after 10 p.m. Defendants Carasso Family Trust and Studio Lodge
io    Hotel retaliated against Arogant Hollywood for making complaints about loud guest. By Plaintiffs
1i    filing written city of Los Angeles and county of Los Angeles reports about health hazards and
12    uninhabitable conditions ofthe Defendants' public accommodation called Studio Lodge Hotel.
13             Defendants on several occasions intentionally discriminated against Plaintiff Alison Helen
14    Fairchild, a Caucasian woman who is non-ambulatory and unable to walk whatsoever., every time
15    she attempted to request a reasonable public accommodation. Defendants intentionally
16    discriminated against Ms. Fairchild by failing to move her to an ADA accessible handicapped room,
i~    and Defendants were grossly negligent by not renovating the Studio Lodge Hotel to include at least
18    three wheelchair accessible residential hotel rooms that could be occupied by disabled persons
19    protected under the federal laws of Title II of the American Disabilities Act of 1990.
zo            Congress enacted the Civil Rights Act of 1964 to stop discrimination against minorities,
21    including people ofAfrican-American descent. The ADA was enacted because of pervasive
22    discrimination against disabled persons and because discrimination is "a serious and pervasive

23    social problem... [that includes] various forms of discrimination, including outright intentional
24    exclusion.""42 U.S.C. § 12101 (a)(7). Congress explained, "individuals with disabilities are a
25    discrete and insular minority who have been... relegated to a position of political powerlessness in
26   our society. "42 U.S.C. § 12101. Despite the political powerlessness disabled people have in our
a~   society when bringing civil rights suits against corporations, Plaintiffs Arogant Hollywood and
2s   Alison Helen Fairchild are determined to stop Defendants' discriminatory actions and omissions.
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 3 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 4 of 100 Page ID #:4




               Defendants were negligent and grossly negligent by intentionally placing Plaintiffs in an
      inhabitable residential hotel room.
               Defendants were negligent and grossly negligent by intentionally placing Plaintiff Alison
      Helen Fairchild in a residential hotel room in which she could not even get inside ofthe bathroom
      without crawling out of her wheelchair.
               Defendants were negligent and grossly negligent by threatening to remove both Plaintiffs for
      making complaints about loud guest, and by making reports to city and counties agencies about the
      conditions of Studio Lodge Hotel.


io             FEDERAL CIVIL COMPLAINT OF AROGANT HOLLYWOOD AND ALISON
ii             HELEN FAIRCHILD.INDIVIDUALLY
12

13             Plaintiffs AROGANT HOLLYWOOD AND ALISON HELEN FAIRCHILD
14    individually bring this action against Defendants Carasso Family Trust and Studio Lodge Hotel.
15    Plaintiffs hereby allege as set forth below:
16

i~            PARTIES TO THE ACTION
is
19    1.      Plaintiff AROGANT HOLLYWOOD is and was a resident of Los Angeles, California at
Zo    relevant times. Mr. Hollywood lived at the Studio Lodge Hotel from January 27t"2017 until the
21    present time ofthe filing ofthis lawsuit. At all relevant times stated throughout this lawsuit Arogant
22    Hollywood was a residential tenant at Studio Lodge Hotel and was current on his rent every single
23    week of his residential hotel stay. The Studio Lodge Hotel is located at 11254 Vanowen Street, Los
24    Angeles, California. At all times, relevant hereto, and stated throughout this lawsuit, Arogant
25   Hollywood was an African-American male individual over the age of 18 years-old and a resident of
26

2~    the state of California.
28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     IIED
     -Page 4 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 5 of 100 Page ID #:5




      2.       Plaintiff ALISON HELEN FAIRCHILD is and was a resident of Los Angeles, California
      at all relevant times. Ms. Fairchild lived at the Studio Lodge Hotel from January 27~" 2017 until the
      present time. At all relevant times stated throughout this lawsuit Alison Helen Fairchild was a
      residential tenant at the Studio Lodge Hotel and was current on her rent every single week of her
      residential hotel stay. The Studio Lodge Hotel is located at 111254 Vanowen Street, Los Angeles,
      California, the neighborhood of North Hollywood,
      Plaintiff ALISON HELEN FAIRCHILD is a "physically handicapped person", a "physically
      disabled person", and a "person with physical disabilities" (hereinafter the terms "physically
      disabled", "physically handicapped" and "person with physical disabilities" are used
Zo    interchangeably, as these words have similar or identical common usage and legal meaning, but the
ii    legislative scheme in Part 5.5 ofthe Health &Safety Code uses the term "physically handicapped
12    persons" and the Unruh Civil Rights Act, §§ 51, 51.5, 54, 54.1 and 55, and other statutory measures
13    refer to protection ofthe rights of"physically disabled persons"). Plaintiff ALISON HELEN
14    FAIRCHILD is a "person with physical disabilities", as defined by all applicable California and
15    United States laws. Plaintiff Alison Fairchild has severe brain damage, chronic arthritis all over her
16    entire body, spinal meningitis, multiple sclerosis and constant joint inflammation, pain and
i~    swelling. In addition, Plaintiff Fairchild suffers from and was diagnosed with multiple sclerosis,
18    which attacks her brain, and during intense emotional distress, leads to migraines caused by additior
19    legions formed on her brain. Plaintiff ALISON HELEN FAIRCHILD requires the use of a
ao    wheelchair to travel about in public. Consequently, plaintiff ALISON HELEN FAIRCHILD is a
zi    member [1] ofthat portion of the public whose rights are protected by the provisions of Health &
22    Safety Code § 19955, et seq.(entitled "Access to Public Accommodations by Physically
23    Handicapped Persons") and the protections of the Unruh Civil Rights Act, Civil Code §§ 51 and
24    51.5 the Disabled Persons Act, Civil Code § 54, and the Americans with Disabilities Act, 42 U.S.C.
25      12101 et seq.
26

2~    3.      Defendant Studio Lodge Hotel is a residential hotel located in the city of Los Angeles, CA.
28    Studio Lodge Hotel has violated ADA laws pursuant to 42 U.S.C. § 12181. The Studio Lodge Hotel
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     LIED
     -Page 5 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 6 of 100 Page ID #:6




      operates illegally by requiring hotel guests to check out every 28 days in direct violation of
      California Civil Code § 1940.1(a). This statute states the following: No person may require an
      occupant of a residential hotel as defined in Section 50519 of the Health and Safety Code, to move,
      or to check out and reregister, before the expiration of 30 days occupancy status pursuant to
      paragraph(1)of subdivision(b) of Section 1940. Evidence that an occupant was required to check
      out and reregister shall create rebuttable presumption, which shall affect solely the burden of
      producing evidence, of the purpose referred to in this subdivision. Defendant Studio Lodge Hotel
      jurisdiction lies within the state of California. Defendant Studio Lodge Hotel is a public
      accommodation known as Studio Lodge Hotel, located at 11254 Vanowen Street, Los Angeles,
io    California, or ofthe building and/or buildings which constitute said public accommodations. At all
ii    times, relevant to this complaint, Defendant Studio Lodge Hotel and DOES 1-20, inclusive, were
i2    jointly and severally responsible for identifying and removing architectural barriers at the subject
13    STUDIO LODGE HOTEL,pursuant to Code of Federal Regulations title 28, section 36.201(b),
14    which states in pertinent part:
15     § 36.201 General
16    (b)Landlord and tenant responsibilities. Both the landlord who owns the building that houses a
i~    place of public accommodation and the tenant who owns or operates the place of public
18    accommodation are public accommodations subject to the requirements ofthis part. As between the
19    parties, allocation of responsibility for complying with the obligations of this part may be
Zo    determined by lease or other contract.
zi    28CFR § 36.201(b)
22

23    4.      Defendant Carasso Family Trust which does business as public accommodation Studio
24    Lodge Hotel. Upon checking business records with the Secretary of State Plaintiffs were told by
25    California state government employees that Carasso Family Trust is currently unincorporated in the
26    state of California. The city of Los Angeles clerk's office has a business license for a hotel located
2~    at: 11254 Vanowen Street, Los Angeles, CA, and this business license says that Studio Lodge Hotel
28    is owned by Defendant Carasso Family Trust.
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 6 of]44
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 7 of 100 Page ID #:7




      5.       Plaintiffs are unaware of the true names of Defendants listed as DOES 1 through 20,
      inclusive, and therefore sued them by the foregoing names which are fictitious. Plaintiffs will amen
      this Complaint by inserting the true names in lieu of said fictitious names, together with apt and
      proper charging words, when said true names are ascertained. Plaintiffs are informed and believe
      and thereon allege that each ofthe Defendants designated herein as a DOE is responsible and liable
      to Plaintiffs in some manner for the events, happenings, and contention referred to in this
      Complaint. All references herein to "Defendant: or "Defendants" shall be deemed to include all
      DOE Defendants.
io
ii    6.       Plaintiffs Arogant Hollywood and Alison Helen Fairchild are informed and believe and
lz    thereon allege that each Defendant, including DOES 1 through 20, inclusive, was and is the agent,
13    employee, servant, subsidiary, partner, member, associate, or representative or each other
14    Defendant, and that all of things alleged to have been done in the course and scope of said agency,
15    employment, service, subsidiary, partnership, membership, association, or representative
16    relationship and with the knowledge and consent of their respective principals, employers, masters,
i~    parent corporations, partners, members, associates, or representatives. Each Defendant has
ie    authorized, ratified, acknowledged, consented, acquiesced, and/or approved of all acts, conduct,
19    and/or omissions, by each other Defendant. Plaintiffs are informed and believes and thereon alleges,
20    that each of the fictitiously named defendants is responsible in some manner for the occurrences
21    alleged in this complaint, and that plaintiffs' damages as alleged in this complaint were proximately
a2    caused by those defendants.
23

24

25

26            JURISDICTION AND VENUE
27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985, & 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 7 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 8 of 100 Page ID #:8




 i    7.       This action arises from a violation, inter alia, of Title III ofthe Americans with Disabilities
 2    Act, 42 U.S.C. §§ 12101, 12203, 12181, et seq., discrimination in violation of the Civil Rights Act
 3    of 1964,42 U.S.C. §§ 1981, 1985 and 1986. Plaintiffs also seek redress of violations of state law
 4    rights and/or federal law rights via the supplemental jurisdiction ofthis Court.
 5

 6    8.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 and
      supplemental jurisdiction under 28 U.S.C. § 1367(a). Declaratory and injunctive relief are
 8    authorized by 28 U.S.C. §§ 2201, 2202, and 1343.
 9

io    9.       Venue is proper pursuant to 28 U.S.C. § 1391 because at least one ofthe defendants resides
ii    within this District and because all the acts for which Plaintiffs complains occurred in the city of
12    Pomona, within the State of California.
13

14    10.      Personal jurisdiction is proper over each of the defendants because they are either domiciled
15    in the State of California and/or have regularly transacted business in the State.
16

i~    1 1.     To maintain an action under 42 U.S.C. § 1985, Plaintiffs Arogant Hollywood and Alison
i8    Helen Fairchild need not first exhaust administrative or state remedies. Neither does the availability
19    of a state remedy preclude Mr. Hollywood and Ms. Fairchild from seeking relief under the Civil
zo    Rights Act, when the Complaint otherwise states a claim. See Hazzard v. Weinberger, 383 F. Supp.
21    255(1974), affirmed 512 F.2d 1397(2nd Cir. 1975) or state court remedies (Burt v. City ofNew
22    York, 156 F.2d 791 (1946)).
23

24

25

26

2~            PRELIMINARY FACTUAL ALLEGATIONS REGARDING ADA VIOLATIONS
28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     Civ Code Proc §§ l l59 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 8 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 9 of 100 Page ID #:9




       12.      Plaintiff Alison Helen Fairchild, is and was a paying residential tenant of subject property
       Studio Lodge Hotel, and that the interests of Plaintiff Alison Helen Fairchild in removing
       architectural barriers at the subject real estate property advance the purposes of all other disabled
       persons to assure that all public accommodations, including the subject Studio Lodge Hotel, are
       accessible to independent use by mobility-impaired persons.


       13.      The Studio Lodge Hotel is a residential hotel, located at 11254 Vanowen Street, Los
      Angeles, California. The Studio Lodge Hotel location, its back and front entrance, all interiors and
      exteriors of its residential hotel rooms and its other facilities are each a "place of public
io    accommodation or facility" subject to the barrier removal requirements ofthe Americans with
ii    Disabilities Act. On information and belief, each such facility has, since July 1, 1970, undergone
iz    "alterations, structural repairs and additions", each of which has subjected the Studio Lodge Hotel,
13    and each of its facilities, its front and back entrances and all interiors and exteriors of its residential
14    hotel rooms, to disability access requirements per the Americans with Disabilities Act Accessibility
is    Guidelines(ADAAG), and Title 24 ofthe California Code of regulations (Title 24).
16

i~    14.      At all times stated herein, plaintiff Alison Helen Fairchild was a disabled ambulatory woman
is    that cannot walk whatsoever.
19

20    15.      At all times referred to herein and continuing to the present time, Defendants, and each of
zl    them, advertised, publicized and held out the 11254 Vanowen Street, Studio Lodge Hotel location
22    being handicapped accessible and handicapped usable.
23

24    16.      On January 27~'2017 until the present day, Plaintiff Alison Helen Fairchild has been unable
25    to push and maneuver her manual wheelchair inside ofthe bathroom of her residential hotel room,
26

2~    located at subject real estate property Studio Lodge Hotel.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990[42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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      IIED
      -Page 9 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 10 of 100 Page ID #:10




 i      17.      At said times and place, plaintiff Alison Helen Fairchild attempted to push and maneuver her
 a      manual wheelchair, but she was unable to move forward as the bathroom in her residential hotel
 3      room was not accessible. Ms. Fairchild was unable to access her bathroom while being seated in her
 4      manual wheelchair.
 5

 6      18.      On January 27t"2017 until the present day, Plaintiff Alison Helen Fairchild while entering
        her residential hotel room bathroom in her mobility assistance device, needed to crawl out of her
 8      wheelchair and crawl inside of her bathroom to complete urinating and releasing feces from her frail

 9      and disabled body.
10

i1      19.      At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver
12     manual wheelchair, but she was unable to move forward as the bathroom in her residential hotel
13     room was not accessible. Ms. Fairchild was unable to access her bathroom while being seated in her
14     manual wheelchair.
15

16     20.       On January 27t" 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
i~     maneuver her wheelchair safely, and turn around in the kitchen of her residential hotel room.
is

19     21.      At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver her
20     manual wheelchair, but she was unable to maneuver and turn around in her kitchen as the kitchen in
21     her residential hotel room was not accessible. Ms. Fairchild was unable to access her kitchen while
2a     being seated in her manual wheelchair.
23

24     22.      On or about January 27t" 2017 until the present time, Plaintiff Alison Helen Fairchild was
25     unable to maneuver her wheelchair safely, and turn around in the living room of her residential hotel
26

27    ~ room.
2a
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
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       IIED
       -Page 10 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 11 of 100 Page ID #:11




 i   23.      At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver her
 z   manual wheelchair, but she was unable to maneuver and turn around in her living room as the living
 3   room in her residential hotel room was not accessible. Ms. Fairchild was unable to access her living
 4   room while being seated in her manual wheelchair.
 5

 6   24.      On January 27th 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
     maneuver her wheelchair safely, and enter and exit her the front door of her residential hotel room.
 8

 9   25.      At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver her
io   manual wheelchair, but she was unable to maneuver and turn around to enter and exit the front door
ii   of her residential hotel room because it was not accessible. Ms. Fairchild was unable to access, by
12   entering and exiting her residential hotel room while being seated in her manual wheelchair.
13

14   26.      On January 27th 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
i5   maneuver her wheelchair safely, and enter the Studio Lodge Inn on its back entrance due to a lack of
16   handicap curb ramp.
17

18   27.      On January 27t"2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
19   maneuver her wheelchair safely, and exit the Studio Lodge Hotel on its back entrance due to a lack
zo   of handicap curb ramp.
21

22   28.      On January 27t"2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
23   maneuver her wheelchair safely, and enter the Studio Lodge Inn on its front entrance due to a lack
24   of handicap curb ramp.
25

26   29.      On January 27th 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
2~   maneuver her wheelchair safely, and exit the Studio Lodge Hotel on its front entrance due to a lack
28   of handicap curb ramp.
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     IIED
     -Page 11 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 12 of 100 Page ID #:12




        30.      On January 27t'' 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
        maneuver her wheelchair safely, and enter the Studio Lodge Hotel's Laundromat to wash her
        clothing due to a lack of handicap outside ramp.


       31.       At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver her
        manual wheelchair, but she was unable to maneuver and gain access to the Studio Lodge Hotel mail
       entrance near her residential hotel room because the building entrance was not accessible. Ms.
       Fairchild was unable to access the closest Studio Lodge Hotel entrance to her residential hotel room
io     while being seated in her manual wheelchair.
ii
12     32.       On January 26th 2017 until the present day, Plaintiff Alison Helen Fairchild was unable to
13     maneuver her wheelchair safely, and exit the Studio Lodge Hotel due to a lack of handicap curb
14     ramp.
15

16     33.      At said times and place, Plaintiff Alison Helen Fairchild attempted to push and maneuver hey
i~     manual wheelchair, but she was unable to maneuver and safely depart from the Studio Lodge Hotel
18     main exit near her residential hotel room because the building exit was not accessible. Ms. Fairchild
19     was unable to access the closest Studio Lodge Hotel exit to her residential hotel room while being
20     seated in her manual wheelchair.
21

a2     34.      Thereafter on or about January 28t"2017, Plaintiff's fiancee Arogant Hollywood called
23     Studio Lodge Hotel's headquarters in Los Angeles, California by dialing(818)760-2735, and spoke
24     with Studio Lodge Hotel management about said ongoing unlawful activities of said Defendants.
25

26     Plaintiff Hollywood told Studio Lodge Hotel management person that his fiancee was ill and
a~     disabled and needed to be immediately moved into an ADA accessible handicap residential hotel
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
       IIED
       -Page 12 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 13 of 100 Page ID #:13




        room. Plaintiffs Alison Helen Fairchild and Arogant Hollywood were told that Studio Lodge Hotel
        did not have any handicapped rooms whatsoever.


       35.       Therefore, at said times and place, Plaintiff Alison Helen Fairchild, a person with a
       disability, encountered the following inaccessible elements of the subject STUDIO LODGE
       HOTEL location. which constituted architectural barriers and a denial of the proper [2] and legally-
       required access to a public accommodation to persons with physical disabilities, in addition to
       deliberate ADA violations for building and renovating several new residential hotel rooms after
        1990 installing ADA accessible standards in place, including, but not limited to:
io               a. lack of ahandicapped-accessible curb ramp
ii               b. deliberately and intentionally placing and keeping a disabled Alison Helen Fairchild in a
12                  very inaccessible residential hotel room.
13              c. On personal knowledge, information and belief, other public facilities and elements too
14                 numerous to list were improperly inaccessible for use by persons with physical disabilities.
15

16     36.      At all times stated herein, the existence of architectural barriers at Defendants' place of
i~     public accommodation evidenced "actual notice" of defendants' intent not to comply with the
18     Americans with Disabilities Act of 1990 either then, now or in the future.
19

zo     37.      On February 13t"2017, Defendants were served a copy of California judicial form disability
21     access litigation advising STUDIO LODGE HOTEL ofthe existence of architectural barriers. Said
a2     document is attached hereto as Exhibit "1" and incorporated by reference as though fully set forth
23     herein. Defendants' failure to respond evidenced an intent not to seek or engage in an early and
24     reasonable resolution of the matter.
25

26     38.      At all times stated herein, Defendants Carasso Family Trust and Studio Lodge Hotel, and
27     each ofthem, were "negligent per se" in not removing architectural barriers determined by the
28     Department of Justice to be considered a safety concern safety hazard where it was readily
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1, 42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 13 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 14 of 100 Page ID #:14




        achievable for said public accommodation to remove barriers. The barriers and those requirements
        for barrier removal are found in 28 CFR 36, and the building code to be followed is in appendix
       "A", referred to as "ADAAG". Therefore, as a legal result of defendants' breach of duty to remove
        those barriers encountered by plaintiff Alison Helen Fairchild, Plaintiff suffered mental anguish,
       frustration, and severe emotional distress.


        39.      As a legal result of Defendants Carasso Family Trust and Studio Lodge Hotel, a fictitious
       California corporation(Doing Business As Studio Lodge Hotel), which is not a legitimate Califor
       corporation, and DOES 1-20, inclusive failure to act as a reasonable and prudent public
io     accommodation in identifying, removing or creating architectural barriers, policies, practices and
ii     procedures that denied access to Plaintiff Alison Helen Fairchild using a walkway just outside of
12     her residential hotel room and a nonexistent handicap curb ramp outside of its subject STUDIO
13     LODGE HOTEL, and by placing and keeping Alison Helen Fairchild inside of inaccessible
14     residential hotel room, and other persons with disabilities, Plaintiff Alison Helen Fairchild
15     suffered [3] the damages as alleged herein.
16

i~     40.      As a further legal result ofthe actions and failure to act of Defendants, and as a legal result
18     the failure to provide proper handicapped-accessible public facilities as set forth herein, Plaintiff
19     Alison Helen Fairchild was denied her civil rights to full and equal access to public
Zo     accommodations that were supposed to be provided by law as a matter ofright at subject real estate
21     property STUDIO LODGE HOTEL.Plaintiff ALISON HELEN FAIRCHILD suffered a loss of
22     her civil rights and her rights as a person with physical disabilities to full and equal access to public
23     accommodations, and further suffered bodily injury between January 27t'' 2017 until the present day,
24    (including, but not limited to, fatigue, stress, strain and pain in wheeling and attempting to andlor
25     transferring up, on, down, to, over, around and through architectural barriers)., physical discomfort,
26     emotional distress, mental distress, mental suffering, mental anguish, which includes, but is not
2~     limited to, shame, humiliation, embarrassment, anger, disappointment and worry, expectedly and
2e     naturally associated with a person with physical disabilities being denied access, all to Alison
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990[42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 14 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 15 of 100 Page ID #:15




      Fairchild's damages as prayed hereinafter in an amount within the jurisdiction ofthis court. No
      claim is being made for mental and emotional distress above what Ms. Fairchild should receive for
      her suffering that which is associated with the discrimination and physical injuries claimed, and a
      legal expert testimony may be completed regarding this usual mental and emotional distress will be
      presented at trial in support of the claim for damages.


     41.       Defendants Studio Lodge Hotel and each of its failure to remove the architectural barriers
     complained of herein created and its continuance unlawful tactics to rent inaccessible residential
     hotel rooms to disabled persons, at the time ofPlaintiff Alison Helen Fairchild's first visit to said
to   public accommodation location, and Defendant continues to create continuous and repeated
ii   exposure to substantially the same general harmful conditions which caused plaintiff Alison Helen
12   Fairchild harm as stated herein. Since Plaintiffs served a copy of California judicial for DAL-001.
13   Absolutely no changes or renovations have been made to correct the architectural barriers still
14   stubbornly in place at the subject STUDIO LODGE HOTEL. Both inside of its residential hotel
15   rooms, as well as throughout the entrance and exit of all its buildings. The Studio Lodge Hotel has
16   foolishly only made changes in its hotel staff, not its buildings.
17

18   42.      Plaintiff ALISON HELEN FAIRCHILD was denied her rights to equal access to a public
19   facility by Defendants Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, inclusive,
20   because Defendants maintained a STUDIO LODGE HOTEL subject residential real property
21   location at 11254 Vanowen Street, without access for persons with physical disabilities to its back
Zz   and front entrance/exit and other public areas, renting and placing disabled persons into residential
23   hotel rooms that do not at all conform to state and federal ADA laws, as stated herein, and
24   Defendant continues [4] to the date of filing this complaint to deny equal access to Plaintiff Alison
25   Helen Fairchild and other persons with physical disabilities in these and other ways.
26

27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     LIED
     -Page 15 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 16 of 100 Page ID #:16




        43.      On information and belief, construction alterations carried out by Defendants have also
        triggered access requirements under both California law and the Americans with Disabilities Act of
        1990.


        44.       Plaintiff Alison Helen Fairchild, as described herein below, seek injunctive relief to require
        the STUDIO LODGE HOTEL to be made accessible to meet the requirements of both California
        law and the Americans with Disabilities Act of 1990, whichever is more restrictive, so long as
       Defendants operate its STUDIO LODGE HOTEL as a residential hotel, and make appropriate
        alterations to avoid blocking disabled persons from accessing the entire residential hotel, and
io      creating numerous ADA violations throughout its 11254 Vanowen Street location. Plaintiff Alison
ii     Helen Fairchild seek damages for violation of her civil rights beginning on January 27th 2017 and
12     continuing until the present day, and plaintiff Alison Helen Fairchild seek statutory damages of not
13     less than $ 4,000, pursuant to Civil Code § 52(a) or alternatively $ 1000 pursuant to Civil Code §
14     54.3, for each day she stayed at the subject STUDIO LODGE HOTEL that Plaintiff Alison Helen
is     Fairchild was unable to safely access her kitchen, bathroom, front door, living room and entrance/
16     exit of all Studio Lodge Hotel buildings and suffered physical pain and emotional distress because
i~     of her, encounters, experiences, knowledge and belief that the premises was and remains
18     inaccessible to persons with disabilities.
19

20     45.      On information and belief, Defendants Carasso Family Trust and Studio Lodge Hotel have
21     been negligent in their affirmative duty to identify the architectural barriers complained of herein
as     and negligent in the removal ofsome or all said barriers. With the Defendant's attorney stating that
23     his clients do not operate a residential hotel, and therefore exempt from following city, county, state
24     and federal laws.
25

26     46.      On information and belief, Defendants Carasso Family Trust and Studio Lodge Hotel have
z~     been negligent in their affirmative duty to identify the physical barriers complained of herein and
28     negligent in the context of Defendants intentionally failing to repair building defects and renting out
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 16 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 17 of 100 Page ID #:17




     inaccessible residential hotel rooms for several years prior to the Plaintiff Alison Helen Fairchild
     suing unlawful acting Defendants Carasso Family Trust and Studio Lodge Hotel.


     47.      Because of Defendants' violations, Plaintiff Alison Helen Fairchild and other persons with
     physical disabilities are unable to use public facilities and public accommodations such as those
     owned and operated by Defendants Carasso Family Trust and Studio Lodge Hotel. on a "full and
     equal" basis unless such facility is in compliance with the provisions of the Americans with
     Disabilities Act of 1990, Civil Code § 54.1 and Health &Safety Code § 19955, et seq. and other
     accessibility law as plead herein. Plaintiff Alison Helen Fairchild seek an order from this court
io   compelling Defendant to make all parts ofSTUDIO LODGE HOTEL,location 11254 Vanowen
ii   Street, accessible to persons with disabilities.
iz
13   48.      Because of Defendants' violations, Plaintiff Alison Helen Fairchild and other persons with
iq   physical disabilities are unable to use bathrooms, kitchens, living rooms, front doors and
15   entrances/exits of subject STUDIO LODGE HOTEL buildings on a "full and equal" basis unless
16   such unlawful business operations and activities cease, and compliance with the provisions of the
i~   Americans with Disabilities Act of 1990, Civil Code § 54.1 and Health &Safety Code § 19955, et
18   seq. and other accessibility law as plead herein, and ENFORCED,Defendants Carasso Family Trust
19   and Studio Lodge Hotel continue its illegal activities. Plaintiff Alison Helen Fairchild seek an order
20   from these court compelling Defendants' owned STUDIO LODGE HOTEL residential hotel
zi   location 11254 Vanowen Street, to make many of its residential hotel rooms accessible for all                                         ~
z2   disabled persons, and to make the entrances and exits to all its buildings accessible to all disabled
23   persons.
24

25   49.      On information and belief, Defendants have intentionally undertaken to modify and alter
26   existing building(s), and have failed to make them comply with accessibility requirements under the
2~   requirements of ADAAG and Title 24. The acts and omission of Defendants Carasso Family Trust
2a   and Studio Lodge Hotel ,and each ofthem, in failing to provide the required accessible public
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Cross Negligence, Negligent IIED, Negligent
     IiED
     -Page 17 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 18 of 100 Page ID #:18




       facilities and public accommodations, willfully refusing to move Alison Helen Fairchild to a
        wheelchair accessible room, and Ms. Fairchild suffering numerous injuries, indicate actual and
       implied malice toward Plaintiff Alison Helen Fairchild, and despicable conduct carried out by
       Defendants, and each of them, with a willful and conscious disregard for the rights and safety of
       Plaintiff Alison Helen Fairchild and other similarly situated persons, and justify a trembling of
       damages as provided by Civil Code §§ 52(a) and 54.3, in order to profound example of Defendants,
       and each ofthem, to other operators of other residential hotels and other public facilities, and to
       punish Defendants and to carry out the purposes of the Civil Code §§ 51, 51.5 and 54., and to punis:
       said Defendants Carasso Family Trust and Studio Lodge Hotel by way of substantial punitive
io     damages.
ii
12     50.      Plaintiff Alison Helen Fairchild is informed and believe and therefore allege that Carasso
13     Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive, and each ofthem, caused the subject
14     buildings) which constitute the subject real estate property STUDIO LODGE HOTEL location to
15     be constructed, altered and maintained in such a manner that persons with physical disabilities were
16     denied full and equal access to, within and throughout said buildings) ofthe STUDIO LODGE
i~     HOTEL and were denied full and equal use of said public facilities. Furthermore, on information
is     and belief, defendants have continued to maintain and operate said STUDIO LODGE HOTEL
19     location and/or its buildings) in such conditions up to the present time, despite actual and
ao     constructive notice to such Defendants that the configuration of the STUDIO LODGE HOTEL
ai     and/or its buildings) is in violation of the civil rights of persons with physical disabilities, such as
as     Plaintiff Alison Helen Fairchild, and the disability community which she represents. Such
23     construction, modification, ownership, operation, maintenance and practices of such public facilities
24     are in violation of Civil Code §§ 51, 51.5 and 54, Health and Safety Code § 19955, and the ADA,
25     U.S.C. § 12101,et seq. h
26

2~     51.      On personal knowledge, information and belief, the basis of Defendants Carasso Family
28     Trust and Studio Lodge Hotel actual and constructive notice that the physical configuration of the
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ Sl,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       LIED
       -Page 18 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 19 of 100 Page ID #:19




        facilities including, but not limited to, architectural barriers constituting the STUDIO LODGE
        HOTEL location at 11254 Vanowen Street and/or buildings) was in violation of the civil rights of
        persons with physical disabilities, such as Plaintiff Alison Helen Fairchild, includes, but is not
        limited to, communications with STUDIO LODGE HOTEL employees, pass byers, guests, and

        tenants, the Plaintiff Alison Helen Fairchild, a paying residential hotel tenant of STUDIO LODGE

       HOTEL. Defendants Carasso Family Trust and Studio Lodge Hotel has not yet obtained and

       received notices from governmental agencies regarding modification, improvement, or substantial
       repair of the subject premises and other properties owned by Carasso Family Trust and Studio

       Lodge Hotel. However, Defendants Carasso Family Trust and Studio Lodge Hotel, and its attorneys
io     ofrecord) has for many years read newspaper articles and trade publications regarding the
ii     Americans with Disabilities Act of 1990 and other access laws, public service announcements by
is     former U.S. Attorney General Janet Reno between 1993 and 2000, and other similar information.

13     Defendants' failure, under state and federal law, to make the STUDIO LODGE HOTEL location
14     11254 Vanowen Street. accessible, and cease building and renovating new residential hotel rooms
15     without installing ADA accessibility, by renting inaccessible rooms to persons with physical

16     disabilities, is further evidence of Defendants' conscious disregard for the rights of Plaintiff Alison

i~     Helen Fairchild and other similarly situated persons with disabilities. Despite being informed of
is     such effect on Plaintiff Ms. Fairchild and other persons with physical disabilities due to the lack of
19     accessible facilities, Defendants, and each ofthem, knowingly and willfully refused to take any
20     steps to rectify the situation and to provide full and equal access for plaintiffs and other persons with

ai     physical disabilities to its retail store location. Said defendants, and each ofthem, have continued
22     such practices, in conscious disregard for the rights of plaintiff Alison Helen Fairchild and other
23     persons with physical disabilities, up to the date of filing ofthis original complaint, and continuing
24     thereon. Defendants Carasso Family Trust and Studio Lodge Hotel. and its attorneys of record had

25     further actual knowledge ofthe architectural barriers referred to herein by virtue of the important

26     advisory information for building owners and tenants) Cal. Judicial Form DAL-001)addressed to
z~     the Defendants and served concurrently with the summons and complaint. Said conduct, with

2s     knowledge ofthe effect it was and is having on Plaintiff Alison Helen Fairchild and other persons
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       LIED
       -Page 19 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 20 of 100 Page ID #:20




      with physical disabilities, constitutes despicable conduct in conscious disregard ofthe rights and
      safety of Plaintiff Alison Helen Fairchild and of other similarly situated persons,justifying the
      imposition of treble damages per Civil Code §§ 52 and 54.3, and punitive damages.


     52.       Plaintiff Alison Helen Fairchild, on behalf of herself and the disability community which she
      wholeheartedly represents, consisting of persons with disabilities, would and could live peacefully
     and happily at the subject public accommodation when it is made accessible to persons with
     disabilities.


io   53.       Plaintiff Alison Helen Fairchild, on behalf of herself and the disability community which she
ii   wholeheartedly represents, consisting of persons with disabilities, would, could rent an accessible
12   residential hotel room at STUDIO LODGE HOTEL once all physical barriers are removed that are
13   currently preventing Ms. Fairchild from freely traveling and maneuvering in her wheelchair, or any
14   other persons with disabilities.
15

16            GENERAL ALLEGATIONS OF COMPLAINT ON BEHALF OF BOTH
i~            PLAINTIFFS AROGANT HOLLYWOOD AND ALISON HELEN FAIRCHILD
18

19   54.      On January 27th 2017 Arogant Hollywood and Alison Helen Fairchild moved into the Studio
Zo   Lodge Hotel located at 11254 Vanowen Street in the city of Los Angeles. The unidentified male
ai   manager stated that there were no handicap rooms available and that he could therefore only rent the
Za   Plaintiffs anon-handicap room. The Plaintiffs took the male manager's offer because they were
23   currently homeless, and had nowhere else to live at that present time. Both Plaintiffs were required
24   to fill out paperwork that stated that their stay at the Studio Lodge Hotel would end after 28 days of
2s   residency, a direct violation of Cal Code Civ § 1940.1.
26

27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     IIED
     -Page 20 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 21 of 100 Page ID #:21




 i      55.      Several times between January 27th 2017 and February 11~" 2017 Plaintiff Arogant
 z      Hollywood had to complaint about excessive noise coming from nearby residential hotel rooms, and
 3      noise coming from the office of Studio Lodge Hotel.
 4

 5      56.      On February 6th 2017 Arogant Hollywood found and killed a cockroach inside of his
 6     residential hotel room. The cockroach was caught on video as well.
 7

 8     57.       On or about January 27t"2017 Plaintiff Arogant Hollywood made a complaint about the
 9      window being broken inside of his room, and the heater not working.
10

ii     58.       On February 8th 2017 Plaintiff Arogant Hollywood found and killed a cockroach he
1a     witnessed crawling on the side of his residential hotel room's refrigerator.

13

14     59.       At least fifteen days of the months of January and February 2017 Alison Helen Fairchild told
15     her fiance Arogant Hollywood that she was frustrated, falling to the floor, and hurting herself and
16     just plain stressed out that it was so difficult for her to enter and exit her residential hotel room's
i~     very narrow bathroom. Plaintiff Fairchild told Plaintiff Hollywood that she constantly hurt her

18     shoulder while transferring in and out of her manual wheelchair when having to crawl in and out of
19     her Studio Lodge Hotel room's bathroom.
20

21     60.      Many times, between February 1St 2017 and February l Ot'' 2017 Plaintiff Arogant Hollywood
22     had to make a complaint about loud excessive noise coming from Studio Lodge Hotel room 106.

23     After making several complaints about guests in room 106 for over a week, and seeing that Studio
24     Lodge hotel management had still not ask these nuisance guest to check out, Plaintiff Hollywood

25     contacted the police.

26

a~     61.      On February 91h 2017 Plaintiff Arogant Hollywood contacted the city of Los Angeles
2s
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 21 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 22 of 100 Page ID #:22




 i      business license department by dialing 1-844-663-4411. Plaintiff Hollywood spoke to an employee
 2      who told him that the Studio Lodge Hotel had a tax ID number under the name Carasso Family
 3      TT'USt.

 4

 5     62.        On February 9th 2017 Plaintiff Arogant Hollywood contacted the city of Los Angeles
 6     Department of Building and Safety by dialing 1-866-557-7368. The city agency told Plaintiff
       Hollywood that during an inspection in December 2016 over 100 code violations were discovered
 s     throughout the real subject property of Studio Lodge Hotel. The code enforcement agency also
 9     stated that Studio Lodge Hotel was told to fix all those 100 violations. As of February 1 lt"2017 all
io     ofthe Studio Lodge Hotel's city of Los Angeles building and safety violations had not been
ii     rectified and alleviated.
12

13     63.        On February l Ot'' 2017 a county ofLos Angeles environmental health inspector discovered
14     several violations by Studio Lodge Hotel while conducting an inspection of Plaintiffs' residential
15     hotel room.
16

i~     64.        On February l Ot"2017 upon Plaintiff Hollywood checking with the California secretary of
18     state's office he learned that Carasso Family Trust and Studio Lodge Hotel were not incorporated in
19     the state of California. On the California secretary of state website's business search no records were
zo     found for corporation, limited partnership or limited liability companies for Studio Lodge Hotel
21     and Carasso Family Trust.
22

23

24     65.        On February l Ot"2017 at approximately 7:30 p.m. Plaintiff Arogant Hollywood had to
25     contact the L.A.P.D. after Studio Lodge Hotel guests' in room 106 continued to make loud and
26     excessive noise for several hours. Despite alerting the front desk of Studio Lodge Hotel. Defendants
2~     failed to contact law enforcement themselves. The incident number was documented as 4337.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       IIED
       -Page 22 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 23 of 100 Page ID #:23




 i      66.      On February 10th 2017 Plaintiffs Arogant Hollywood and Alison Helen Fairchild went to the
 a     front desk ofthe Studio Lodge Hotel to pay for his rent in advance for the period of February 17t" tc
 3      February 24t"2017. Both Plaintiffs were told by a female manager that the Studio Lodge Hotel
 4      would not be accepting more rental payments from Plaintiffs Arogant Hollywood and Alison Helen
 5     Fairchild and that both Plaintiffs would have to check out of the Studio Lodge on February 17tH
 6     2017. The Studio Lodge hotel female manager also stated that if both Plaintiffs did not peacefully
        vacate their residential hotel room on February 17t'' 2017 the police would be called and they would
 8     be prosecuted for trespassing. Studio Lodge Hotel stated the following word for word: "On
 9     February 17`h you must check out or we will contact the police to have you both removed."
10

ii     67.       On the early morning of February l lt" 2017 at approximately 12:30 a.m. Plaintiffs Arogant
12     Hollywood and Alison Helen Fairchild were awakened by loud music. Once Plaintiff Arogant
13     Hollywood left his room he discovered the excessive noise was coming from the front office. The
14     front office employee told Plaintiff Hollywood that he thought that it was amazing that he could
15     hear the music all the way down in room 108. This excessive noise has occurred many times
16     throughout the entire stay of Plaintiffs, and often the excessive noise comes from Studio Lodge
i~     Hotel employees or the loud guests that are speaking to after 10 p.m. at night.
18

19     FIRST CAUSE OF ACTION---RETALIATION,INTIMIDATION,THREATS,AND
zo     INTERFERENCE IN VIOLATION OF THE AMERICAN WITH DISABILITIES ACT 42
ai     U.S.C. ~ 12203                                                                          AS A
2a     CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE
23

24     68.      Plaintiff Alison Helen Fairchild reincorporates by reference each and every allegation stated
2s    I in paragraphs 1-67 above.
26

27

2B
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED,Negligent
       LIED
       -Page 23 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 24 of 100 Page ID #:24




 i      69.      Plaintiff Alison Helen Fairchild has no adequate remedy at law in that damages are
 z      insufficient to protect the public and plaintiffs for the present harm caused by conditions described
 3      in this Complaint.
 4

 5     70.       Plaintiff Alison Helen Fairchild is disabled within the means of ADA,ambulatory and
 6      to walk whatsoever.
 7

 8     71.       Plaintiff Alison Helen Fairchild engaged in conduct protected by the ADA,including but not
 9     necessarily limited to requesting reasonable accommodations from STUDIO LODGE HOTEL
io     employees and managers to move her to ADA approved accessible residential hotel room which
ii     Defendants Carasso Family Trust and Studio Lodge Hotel employees knew were not all readily
iz     available. Defendants oversaw completion of a renovations of Studio Lodge Hotel between 2005
13     and 2010, yet failed to install one single handicapped room, long before a lawsuit was filed against
14     them.
15

16     72.      42 U.S.C. § 12203(a) prohibits retaliation against any individual because the person opposed
i~     any act or practice made unlawful by the ADA.42 U.S.C. § 12203(b)further provides that "[i]t shall
18     be unlawful to coerce, intimidate, threaten, or interfere with any individual in the exercise or
19     enjoyment of, or on account of his or her having exercise or enjoyed... any right granted or
ao     protected by this Chapter."
ai
22     73.      Defendants Carasso Family Trust and Studio Lodge Hotel violated U.S.C.S. § 12203 by
23     telling plaintiff Alison Helen Fairchild that she would have to vacate her residential hotel room
24     permanently without cause of engaging in any wrongdoing whatsoever.
25

26     74.      Defendants Carasso Family Trust and Studio Lodge Hotel violated U.S.C. § 12203 by its
2~     interference with the ADA rights of anon-ambulatory Alison Helen Fairchild by deliberately and
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       LIED
       -Page 24 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 25 of 100 Page ID #:25




        intentionally refusing to relocate Ms. Fairchild to a handicapped residential hotel room and
        retaliating against her when she contacted housing authority and her fiance Arogant Hollywood
        contacted city ofLos Angeles business license department and code enforcement.


        75.      Defendants Carasso Family Trust and Studio Lodge Hotel violated U.S.C.S. § 12203 by
        its conduct, including but not necessarily limited to, refusing to move Alison Helen Fairchild to a
        handicapped room, threatening to have her removed from her residential hotel room by law
        enforcement and keeping her in inaccessible residential hotel room that was infested with
       cockroaches.
io
li     76.       Defendants Carasso Family Trust and Studio Lodge Hotel Inc violated U.S.C.S. § 12203 by
iz     its interference with the ADA rights of an ambulatory Alison Helen Fairchild by conspiring and
13     planning to forcefully remove Ms. Fairchild, which would cause her to be homeless on the
14     dangerous and cold streets ofLos Angeles county.
15

16     77.       Defendants Carasso Family Trust and Studio Lodge Hotel violated U.S.C. § 12203 by its
i~     conduct, including but not necessarily limited to, threatening to have her removed from her
is     residential hotel room by law enforcement, entering her residential hotel room and removing her
19     personal belongings, and using unlawful self-help tactics that included law enforcement assisting
zo     them with forceful entry, and prevention of re-entry to her residential hotel room.
zi
22     78.      As a direct and proximate result of Defendants' violation of42 U.S.C. § 12203, Plaintiff
23     Alison Helen Fairchild has suffered and continues to suffer emotional distress, and other damages
24     an amount to be determined according to proof at the time of trial.
25

26     79.      WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
2~     Carasso Family Trust and Studio Lodge Hotel on the first cause of action ofthe Plaintiff Alison
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985, & 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 25 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 26 of 100 Page ID #:26




        Helen Fairchild complaint in the amount that will justly compensate Ms. Fairchild for her damages,
       together with costs and attorneys' fees in this action.


       SECOND CAUSE OF ACTION---VIOLATION OF 42 USCS & 12101 ET SEQ.),PHYSICAL
       BARRIER VIOLATIONS---ALLEGED BY ALISON HELEN FAIRCHILD AS AGAINST
       DEFENDANTS CARASSO FAMILY TRUST.STUDIO LODGE HOTEL,&DOES 1-20,
       INCLUSIVE.


       80.       Plaintiff Alison Helen Fairchild re-allege and incorporate by reference, as if fully set forth
io     again herein, the allegations contained in paragraphs 1-79 ofthis federal complaint.
ii
12     81.       At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
13     tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
14     submitted a late rental payment whatsoever.
15

16     82.      At all relevant times, Defendants' location 11254 Vanowen Street, managers, supervisors
i~     and employees were employed by Carasso Family Trust and Studio Lodge Hotel, and were fully
la     involved with the interest of having Alison Helen Fairchild discriminated against and removed from
19     its premises permanently.
20

21     83.      At all relevant times, Defendants Carasso Family Trust and Studio Lodge Hotel general
z2     manager, supervisors and employees were employed by Carasso Family Trust and Studio Lodge
23     Hotel, and were fully involved with discriminating against Alison Helen Fairchild by its employees
24     failing to move Alison Helen Fairchild to a handicapped accessible residential hotel room.
25

26     84.      At all relevant times, Defendants' location 11254 Vanowen Street, general managers,
2~     supervisors and employees were employed by Defendants Carasso Family Trust and Studio Lodge
Zs     Hotel, and were fully involved with the interest of discriminating against Alison Helen Fairchild by
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IiED
       -Page 26 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 27 of 100 Page ID #:27




        threatening to refuse to allow her back in her residential hotel room and conspiring to forcefully
        enter her hotel room in order to lock her out permanently.


       85.       At all relevant times, Defendants Carasso Family Trust and Studio Lodge Hotel's general
        manager, supervisors and employees were employed by Carasso Family Trust and Studio Lodge
       Hotel and were fully involved with discriminating against Alison Helen Fairchild by its employees
       conspiring to refuse to allow Ms. Fairchild back inside of her residential hotel room.


       86.       At all relevant times, Defendants Carasso Family Trust and Studio Lodge Hotel were the so
io     owners of STUDIO LODGE HOTEL,and at all relevant times stated throughout this lawsuit
ii     Defendants Carasso Family Trust and Studio Lodge Hotel were responsible for the management,
is     guidance and leadership of subject location 11254 Vanowen Street, Los Angeles, California, stated
13     above and throughout this lawsuit.
14

15     87.      Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C. ~ 12101
16     regarding persons with physical disabilities, finding that laws were needed to more fully protect:
i~     some 43 million Americans with one or more physical or mental disabilities; [that] historically
18     society has tended to isolate and segregate individuals with disabilities; [that] such forms of
19     discrimination against individuals with disabilities continue to be a serious and pervasive social
Zo     problem;[that] the nation's proper goals regarding individuals with disabilities are to assure equality
21     of opportunity, full participation, independent living and economic self-sufficiency for such
z2     individuals; [and that] the continuing existence of unfair and unnecessary discrimination and
23     prejudice denies people with disabilities the opportunity to compete on an equal basis [5] and to
24     pursue those opportunities for which our free society is justifiably famous.
25

26     88.      Congress stated as its purpose in passing the Americans with Disabilities Act of 1990 X42
27     U.S.C. ~ 12102
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990[42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 27 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 28 of 100 Page ID #:28




        It is the purpose of this act(1)to provide a clear and comprehensive national mandate for the
        elimination of discrimination against individuals with disabilities;(2)to provide clear, strong,
        consistent, enforceable standards addressing discrimination against individuals with disabilities;(3)
        to ensure that the Federal government plays a central role in enforcing the standards established in
       this act on behalf of individuals with disabilities: and (4)to invoke the sweep of Congressional
        authority, including the power to enforce the 14th Amendment and to regulate commerce, in order
       to address the major areas of discrimination faced day to day by people with disabilities.


       89.       As part of the Americans with Disabilities Act of 1990, Public Law 101-336 (hereinafter the
io     "ADA"), Congress passed "Title III -Public Accommodations and Services Operated by Private
ii     Entities" (Section 301 42 U.S.C. § 1?181,et seq.). Among the public [6] accommodations identified
i2     for purposes ofthis title was:
13    (7)PUBLIC ACCOMMODATION -The following private entities are considered public
14     accommodations for purposes ofthis title, if the operations of such entities affect commerce —
i5     C~eck appropriate description:
16    (A)an inn, hotel, motel, or other place of lodging, except for an establishment located within a
i~     building that contains not more than five rooms for rent or hire and that is actually occupied by the
18     proprietor of such establishment as the residence of such proprietor;
~9 4z u.s.c. § 12is1~~~~a~
20
21     90.       Pursuant to § 302,42 U.S.C. § 12182,"No individual shall be discriminated against on the
2z     basis of disability in the full and equal enjoyment ofthe goods, services, facilities, privileges,
23     advantages, or accommodations of any place of public accommodation by any person who owns,
24     leases, or leases to, or operates a place of public accommodation".
25

26     91.       The specific prohibitions against discrimination set forth in § 302(b)(2)(a), 42 U.S.C.
2~     12182(b)(2)(a) are:
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 28 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 29 of 100 Page ID #:29




     (I) the imposition or application of eligibility criteria that screen out or tend to screen out an
      individual with a disability or any class ofindividuals with disabilities from fully and equally
      enjoying any goods, services, facilities, privileges, advantages, or accommodations, unless such
      criteria can be shown to be necessary for the provision of the goods, services, facilities, privileges,
      advantages, or accommodations being offered;
     (ii) a failure to make reasonable modifications in policies, practices, or procedures, when such
      modifications are necessary to afford such goods, services, facilities, privileges, advantages or
      accommodations to individuals with disabilities, unless the entity can demonstrate that making such
      modifications would fundamentally alter the nature of such goods, services, facilities, privileges,
io    advantages, or accommodations;
ii (iii) a failure to take such steps as may be necessary to ensure that no individual with a disability is
IZ    excluded, denied services, segregated or otherwise treated differently than other individuals because
13    ofthe absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps
14    would fundamentally alter the nature ofthe good, service, facility, privilege, advantage, or
15    accommodation being offered or would result in an undue burden;
16   (iv) a failure to remove architectural barriers, and communication barriers that are structural in
l~    nature, in existing facilities ...where such removal is readily achievable; and
18   (v) where an entity can demonstrate that the removal of a barrier under clause (iv) is not readily
19    achievable, a failure to make such goods, services, facilities, privileges, advantages or
Zo    accommodations available through alternative methods if such methods are readily achievable.
21    The acts of Defendants Carasso Family Trust and Studio Lodge Hotel set forth herein were a
22    violation of plaintiff Alison Helen Fairchild's rights under the ADA,Public Law 101-336, and the
23    regulations promulgated thereunder, 28 CFR Part 36, et seq. Effective January 31, 1993, the
z4    standards ofthe ADA were also incorporated into California Civil Code § 51, making available the
25    damage remedies incorporated into Civil Code § 51 and 52(a) and 54.3.
26

2~   92.       The removal of the barriers complained of by plaintiff Alison Helen Fairchild as hereinabove
28    alleged was at all times after January 26, 1992 "readily achievable" as to the subject buildings) of
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent TIED, Negligent
      IIED
      -Page 29 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 30 of 100 Page ID #:30




       STUDIO LODGE HOTEL location 11254 Vanowen Street, Los Angeles, California, pursuant to 42
        U.S.C. § 12182 (b)(2)(A)(i)-(iv). On information and belief, if the removal of all the barriers
       complained of herein together was not "readily achievable," the removal of each individual barrier
       complained of herein was "readily achievable. [7] " On information and belief, defendants' failure
       to remove said barriers was likewise due to discriminatory practices, procedures and eligibility
       criteria, as defined by 42 U.S.C. § 12182 (b)(2)(A)(i)and(ii).


       93.      Per 42 U.S.C. § 12181 (9), the term "readily achievable" means "easily accomplishable and
       able to be carried out without much difficulty or expense." The statute defines relative "expense" in
io     part in relation to the total financial resources of the entities involved. Plaintiff Alison Helen
ii     Fairchild allege that properly repairing, modifying, or altering each ofthe items that Plaintiff
12     complain of herein were and are "readily achievable" by the Defendants Carasso Family Trust and
13     Studio Lodge Hotel under the standards set forth under § 301(9) ofthe Americans with Disabilities
14     Act. Furthermore, if it was not "readily achievable" for defendants to remove each of such barriers,
15     defendants have failed to make the required services available through alternative methods which
16     were readily achievable.
17

is     94.      On information and belief, construction work on, and modifications of, the subject
19     buildings) of STUDIO LODGE HOTEL location 11254 Vanowen Street, Los Angeles, California,
Zo     occurred after the compliance date for the Americans with Disabilities Act, January 26, 1992,
21     independently triggering access requirements under Title III of the ADA.
22

23     95.      Pursuant to the Americans with Disabilities Act of 1990,42 U.S.C. ~ 12188,et seq., Plaintiff
z4     Alison Helen Fairchild is entitled to the remedies and procedures set forth in § 204(a) of the Civil
25     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as Ms. Fairchild has been subjected to discrimination
26     on the basis of her disability in violation ofthis title or have reasonable grounds for believing that
a~     plaintiff Alison Helen Fairchild is about to be subjected to discrimination in violation of§ 302.
28    Plaintiff Alison Helen Fairchild is deterred from returning to or making use of the residential hotel
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ Sl,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 30 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 31 of 100 Page ID #:31




       public accommodation and/or public facilities complained of herein so long as the premises and
       defendants' policies bar full and equal use by persons with physical disabilities.


       96.      42 U.S.C. 12188 (a)(1) states:, "Nothing in this section shall require a person with a
       disability to engage in a futile gesture if such person has actual notice that a person or organization
       covered by this title does not intend to comply with its provisions". Pursuant to this section, Plaintiff
       ALISON HELEN FAIRCHILD has not received any accessible services as advertised in the front
       office of Defendants Inc location 11254 Vanowen Street premises since on or about January 27tH
       2017. On information and belief, Plaintiff alleges that Defendants have continued to violate the law
io     and deny the rights of Plaintiff Alison Helen Fairchild and of other persons with physical disabilities
ii     to access this public accommodation. Pursuant to 42 USC ~ 12188(a)(2), "In cases of violations of §
1z     302(b)(2)(A)(iv) ... injunctive relief shall include an order to alter facilities to make such facilities
13     readily accessible to and usable by individuals with disabilities to the extent required by this title".
14

15     97.       Plaintiff Alison Helen Fairchild seek relief pursuant to remedies set forth in § 204(a) ofthe
16     Civil Rights Act of 1964(42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to
i~     implement the Americans with Disabilities Act of 1990, including but not limited to an order
is     granting injunctive relief and attorneys' fees. Plaintiff Alison Helen Fairchild will seek attorneys'
19     fees conditioned upon being deemed to be the prevailing party.
20

21     98.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
22     intentionally denying Alison Helen Fairchild civil rights right to equal public accommodations by
23     intentionally refusing to relocate her to ADA approved and handicapped accessible residential hotel
24    i room.
25

26     99.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
2~     discriminating against Alison Helen Fairchild based on her disability.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
       IIED
       -Page 31 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 32 of 100 Page ID #:32




 i      100.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
 2      overseeing the building and structuring of its STUDIO LODGE HOTEL location 11254 Vanowen
 3      Street, Los Angeles, California residential hotel real estate property and intentionally building and
 4      constructing a building that had architectural barriers that were an intentional discrimination of
 5      Alison Helen Fairchild and countless other disabled tenants since Studio Lodge Hotel opened its
 6      1 1254 Vanowen Street, Los Angeles, California residential hotel to the general public.
 7

 8      101.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
 9      intentionally failing to make modifications to its existing 11254 Vanowen Street location building
io     comply with all federal and state disability laws.
ii
IZ      102.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
13     intentionally denying Alison Helen Fairchild civil rights right to equal public accommodations by
14     intentionally threatening to use the assistance of deadly force and unlawful self-help tactics to
15     remove her permanently from her residential hotel room.
16

i~     103.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
18     threatening to forcefully enter Alison Helen Fairchild's residential hotel room, and place a locking
19     mechanism on her front door.
20

ai     104.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
za     refusing to accept on time rental payments for her residential hotel room occupancy.
23

24     105.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
25     threatening to unlawfully enter Alison Helen Fairchild's residential hotel room and remove all her
26     personal belongings.
27

2s     106.     WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7,52.1, 42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 32 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 33 of 100 Page ID #:33




        Carasso Family Trust and Studio Lodge Hotel and DOES 1-20, Inclusive, on the second cause of
        action ofthe Plaintiff's complaint in the amount that will justly compensate Ms. Fairchild for her
       damages, together with costs and attorneys' fees in this action.


       THIRD CAUSE OF ACTION---VIOLATION OF 42 USCS ~ 12101 ET SEO.),DENIAL OF
       EQUAL ACCESS---ALLEGED BY ALISON HELEN FAIRCHILD AS AGAINST
       DEFENDANTS CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,
       INCLUSIVE.


io     107.     Plaintiff Alison Helen Fairchild re-allege and incorporate by reference, as if fully set forth
ii     again herein, the allegations contained in paragraphs 1-106 of this federal complaint.
12

13     108.     At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
14     tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
15     submitted a late rental payment whatsoever.
16

i~     109.     At all relevant times, Defendants' location 11254 Vanowen Street, managers, supervisors
18     and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
19     involved with the interest of having Alison Helen Fairchild discriminated against and removed from
Zo     its premises permanently.
al
22     110.     The American Disabilities Act of 1990 is a sweeping civil rights law designed to "provide a
23     clear and comprehensive national mandate for the elimination of discrimination against person with
24     disabilities." 42 U.S.C. § 12101 (b)(1). In passing the ADA,Congress expressly found:
25     Unlike individuals who have experienced discrimination on the basis ofrace, color, sex, national
26     origin, religion, or age, individuals who have experienced discrimination on the basis ofdisability
2~     have often had no legal recourse to redress such discrimination.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 33 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 34 of 100 Page ID #:34




 i     42 U.S.C. § 12101 (a)(4). Congress enacted the ADA in light of its findings that "individuals with
 z     disabilities continually encounter various forms of discrimination, including outright intentional
 3     exclusion, the discriminatory effects of architectural, transportation, and communication barriers,
 4     overprotective rules and policies, failure to make modifications to existing facilities and practices,
 5     exclusionary qualification standards and criteria, segregation, and relegation to lesser services,
 6     programs, activities, benefits,jobs, or other opportunities."42 U.SC. § 12101 (a)(5). Further,
       Cangress stated that a primary purpose ofthe ADA is "to provide clear, strong, consistent,
 8     enforceable standards addressing discrimination against individuals with disabilities. "42 U.S.C. §
 9     12101 (b)(2).
10

ii     1 11.    A key enforcement mechanism is the statute's private right of action allowing individuals to
12     sue for injunctive and declaratory relief. For private suits, title III of the ADA adopts the "remedies
13     and procedures" set forth in title II ofthe 1964 Civil Rights Act,42 U.S.C. § 2000a-3(a). Title II
14     provides: "[w]henever any person has engaged or there are reasonable grounds to believe that any
15     person is about to engage in any act or practice prohibited by section 2000a-2 ofthis title, a civil
16     action for preventive relief, including an application for a[n]..injunction... may be instituted by the
i~     person aggrieved[.]"42 U.S.C. § 2000a-3(a).
is
19     1 12.    To succeed as a matter oflaw under title III ofthe ADA,Plaintiff Alison Helen Fairchild
ao     must prove that:
ai
22              a. Defendants Carasso Family Trust and Studio Lodge Hotel owns or operates a place of
23              public accommodations;
24              b. Alison Helen Fairchild, the aggrieved individual, is an individual with a disability; and
25              c. Defendants accommodations discriminated against Plaintiff Alison Helen Fairchild based
26                 on her disability.
2~     42 U.S.C. § 12182(a)& 42 U.S.C. § 12182(b).
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 34 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 35 of 100 Page ID #:35




      113.    Studio Lodge Hotel, at which Plaintiff Alison Helen Fairchild attempted to gain reasonable
     accommodations on several occasions, and which are the subject ofthis lawsuit is a public
     accommodation as the operation of such entity affects commerce and because Studio Lodge Hotel is
     an "inn, hotel, motel, or other place of lodging." 42 U.S.C. § 12181 (7)(A).


      1 14.   To address this broad range of discrimination in the context of public accommodations,
     Congress enacted Title III, which provides in part:
              No individual shall be discriminated against on the basis ofdisability in thefull and equal
     enjoyment ofthe goods, services,facilities, privileges, advantages, or accommodations ofany place
Zo   ofpublic accommodations by any person who owns, leases (or leases to), or operates a place of
ii   public accommodation by any person who owns, leases (or leases to), operates a place of
12   accommodation.
13    42 U.S.C. § 12182. By its clear text, Title III requires a public accommodation to provide
14   individuals with disabilities more than simple physical access to the accommodation's facilities.
15   Congress recognized that "individuals with disabilities more than simple physical access, but also
16   other forms of exclusion and "relegation to lesser services, programs, activities, benefits,jobs, or
i~   other opportunities." 42 U.S.C. § 12101 (a)(5)(emphasis added); see Also H.R. Rep. No. 485, Pt. 2,
is   101 St Cong., 2d Sess. 54(1990)("lack of physical access to facilities" was only one of several
19   "major areas of discrimination that need to be addressed"); H.R. Rep. No. 485, Pt. 3, 101St Cong., 2d
20   Sess. 54(1990)("It is not sufficient to only make facilities accessible and usable, this title prohibits,
21   as well, discrimination in the provision of programs and activities conducted by the public
22   accommodation.")                                                                                                                      ',
23

24   1 15.    For that reason, the Act applies not only to barriers to physical access to business locations,
a5   but also to any policy, practice, or procedure that operates to deprive or diminish disabled
26   individuals' full and equal enjoyment ofthe privileges and services offered by the public
a~   accommodation to the public at large. 42 U.S.C. § 12182. Thus, a public accommodation may not
28   have a policy that specifically excludes individuals with disabilities from services. 42 U.S.C. §
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
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     LIED
     -Page 35 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 36 of 100 Page ID #:36




        12182 (B)(1)(a)(I). The statute also defines "discrimination" as including:
        the imposition or application ofeligibility criteYia that screen out or ten to screen out an individual
        with a disability...from fully and equally enjoying any goods, services,facilities, privileges,
       advantages, or accommodations, unless such criteria can be shown to be necessaryfor the
       provision ofthe goods, services,facilities, privileges, advantages, or accommodations being offered.
       42 U.S.C. § 12182 (b)(2)(A)(i). The commentary to the implementing regulations explains that this
       provision "makes it discriminatory to impose policies or criteria that, while not creating a direct bar
       to individuals with disabilities, indirectly prevent or limit their ability to participate. "28 C.F.R. Pt.
       36, App. B, p. 641 (commentary to 28 C.F.R. Pt. 36.301).
io
ii     116.      A public accommodation also may not refuse to make reasonable modifications to a policy
12     practice that has the consequences of denying such individuals access to its services unless making
13     reasonable modification to that policy would fundamentally alter the nature of the services. 42
14     U.S.C. § 12182(b)(2)(A)(ii).
15

16     1 17.    Because Defendants Carasso Family Trust and Studio Lodge Hotel operate a place of public
i~     accommodation, they may not discriminate against individuals with disabilities "in the full and
18     equal enjoyment" of the goods, services, facilities, privileges, advantages, or accommodations of
19     any place of public accommodation as Defendants own, lease, lease to, or operate a place of public
Zo     accommodation in violation of the ADA. This means, among other things, that Defendants
21     generally may not impose or apply unnecessary "eligibility criteria that screen out or tend to screen
22     out an individual with a disability" from renting out a residential hotel, requesting to be moved to a
23     handicapped room, request that Studio Lodge Hotel make necessary repairs and requesting quiet so
24     that Alison Helen Fairchild could receive her needed amount of sleep.
25     42 U.S.C. § 12182(b)(2)(A)(i). Defendants must make reasonable modification in policies,
26     practices, or procedures, when such modifications are necessary to afford such services [orJ
a~     privileges...to individuals with disabilities" unless doing so would fundamentally alter the nature of
28     the goods, services, facilities, privileges, advantages, or accommodations, which Plaintiff Alison
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
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       LIED
      -Page 36 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 37 of 100 Page ID #:37




 i   Helen Fairchild believes Defendants Carasso Family Trust and Studio Lodge Hotel. cannot do since
 z   they provided virtually identical accommodations to other guests/tenants of Studio Lodge Hotel
 3   were not disabled at all, in no shape or form.
 9

 5   1 18.     For an aspect of a Defendant's operation to be subject to Title III, there must be a
 6   connection between the service Plaintiff seeks and the place of public accommodation. In the words
     ofthe statute, the Act covers discrimination "in the full and equal enjoyment ofthe... services [or]
 8   [or] privileges...of any place or public accommodation."42 U.S.C. § 12182(a).
 9

io   1 19.    To be protected by the ADA one must have a disability, defined by the ADA as "(a) a
ii   physical or mental impairment that substantially limits one or more ofthe major life activities of
iz [an]individual;(b) a record of such impairment; or(c) being regarded as having such an
13   impairment." 42 U.S.C. § 12102(2)(1994); 29 C.F.R. § 1630.2(g)(1996). The ADA rule defines
14   "mental impairment" to include "any mental or psychological disorder, such as...emotional or
15   mental illness. "29 C.F.R. § 1630.2(H)(2)(1996).
16

i~   120.     Examples of"emotional or mental illnesses" include major depression, ar~iety disorders,
18   including panic disorder, obsessive compulsive disorder, personality disorders, and post-traumatic
19   stress order. The fourth edition ofthe American Psychiatric Association's Diagnostic and Statistical
20   Manual of Mental Disorders is relevant for identifying these disorders. The DSM-IV has been
ai   recognized as an important reference by courts and is widely used by American mental health
22   professionals for diagnostic and insurance reimbursement purposes. See, e.g., Boldini v. Postmaster
23   Gen., 928 F. Supp. 125, 130(1995), where the court held,"in circumstances of mental impairment,
24   a court may give weight to a diagnosis of mental impairment which is described in the Diagnostic
25   and Statistical Manual of Mental Disorders of the American Psychiatric Association." Mild
26   Neurocognitive Disorder and Major Depressive Disorder "Bereavement Exclusion", and
2~   accompanying anxiety disorders like depression, is a bona fide medical and /or mental disorder as
28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     IIED
     -Page 37 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 38 of 100 Page ID #:38




       classified in the American Psychiatric Association's Diagnostic and Statistics Manual(DSM-IV).
       The American with Disabilities Act also recognizes Mild Neurocognitive Disorder and Major
       Depressive Disorder "Bereavement Exclusion" as mental disabilities whose victims are protected.
       Additionally, under several ADA-related holdings, and individual would be substantially limited if
       his-her relations with others were characterized on a regular basis by "consistently high levels of
       "anxiety and depression, resulting in social withdrawal."


       121.     Plaintiff Alison Helen Fairchild avers that she was a tenant at Studio Lodge Hotel long after
       she was diagnosed with Mild Neurocognitive Disorder and Major Depressive Disorder
io     "Bereavement Exclusion".
ii
is     122.     Plaintiff Alison Helen Fairchild avers that she was discriminated against by Defendants
13     Studio Lodge Hotel, and her mistreatment aggravated and elevated her mental illnesses disorders
14     Mild Neurocognitive Disorder and Major Depressive Disorder "Bereavement Exclusion".
15

16     123.     Plaintiff Alison Helen Fairchild avers that other similarly situated handicapped and ADA
i~     protected disabled persons will be discriminated against by Defendants Carasso Family Trust and
is     Studio Lodge Hotel unless the court grants injunctive relief in this lawsuit.
19

20     124.     Studio Lodge Hotel is a place of public accommodation, not a private club, and that its
ai     preferences to accommodate only certain of its patrons are no justification under the Equal
22     Protection Clause. Such preferences, no matter how widely shared by Defendants' employees and/
23     clientele, bear no rational relation to the suitability of a female disabled woman who suffers from
24     Mild Neurocognitive Disorder and Major Depressive Disorder "Bereavement Exclusion", as a
25     tenant worthy of accommodation of or by the Studio Lodge Hotel Defendants.
26

27

28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 38 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 39 of 100 Page ID #:39




        125.     Based on the facts stated within this Complaint, Defendants discriminated against Plaintiff
        Alison Helen Fairchild directly, or through contractual, licensing, or other arrangements, to a denial
       of the opportunity for Plaintiff Fairchild to participate in or benefit from the goods, services,

       facilities, privileges, advantages, or accommodations of an entity, in violation ofthe ADA.



        126.     Based on the facts stated within this Complaint, Defendants discriminated against Plaintiff
       Alison Helen Fairchild as it is discriminatory to afford an individual, on the basis of a disability or
        disabilities of such individual, directly, or through contractual, licensing, or other arrangements

       with the opportunity to participate in or benefit from a good, service, facility, privilege, advantage,
io     or accommodation that is not equal to that afforded to other individuals, in violation of42 U.S.C. §
ii      12182.

is

13     127.     Based on the facts stated within this Complaint, Defendants discriminated against Plaintiff
i4     Alison Helen Fairchild as Defendants Carasso Family Trust and Studio Lodge Hotel failed to afford
15     to an individual with a disability accommodation in the most integrated setting appropriate to the
16     needs ofthe individual, in violation of42 U.S.C. § 123182.
17

18     128.     Based on the facts stated within this Complaint, Defendants discriminated against Plaintiff
19     Alison Helen Fairchild by Defendants utilizing standards or criteria or methods of administration
ao     that have the effect of discriminating on the basis of disability; or that perpetuate the discrimination
21

as     of others who are subject to common administrative control, in violation of42 U.S.C. § 12182.

23

24     129.     Based on the facts stated within this Complaint, Defendants discriminated against Alison
25     Helen Fairchild as it is discriminatory to exclude or otherwise deny goods, services, facilities,
26     privileges, advantages, accommodations, or other opportunities to an individual or entity because of
a~     the known disability of an individual with whom the individual is known to have a relationship or

as     association, in violation of42 U.S.C. § 12182. See Niece v. Fitzner, 922 F. Supp 1208 (1996).
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 39 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 40 of 100 Page ID #:40




     130.     Based on the facts stated within this Complaint, Defendants Carasso Family Trust and Stu<
     Lodge Hotel discriminated against Plaintiff Alison Helen Fairchild as Defendants Carasso Family
     Trust and Studio Lodge Hotel engaged in the specific prohibitions as stated in 42 U.S.C. § 12182
     and elsewhere in the ADA.


     131.     Based on the facts stated within this Complaint, Defendants Carasso Family Trust and Studio
     Lodge Hotel discriminated against Plaintiff Alison Helen Fairchild as Defendants failed to
     demonstrate that the removal of any barrier is not readily achievable, and made such goods,
io   services, facilities, privileges, advantages, or accommodations available through alternative methods
ii   in a segregated manner, in violation of42 U.S.C. § 12182.
is
13   132.     Plaintiff Alison Helen Fairchild has good cause to believe and in fact believes that the
14   Defendants Carasso Family Trust and Studio Lodge Hotel will continue to operate an inaccessible
15   facility and to enforce illegal policies and practices, which will result in figure discrimination
16   against similarly situated disabled persons, in violation ofthe Americans with Disabilities Act.
17

18   133.     As part of a complete life, Plaintiff Alison Helen Fairchild wants to be able to travel and use
19   public accommodations without restriction, which included residing at Defendants' Studio Lodge
20   Hotel from January 27t"2017 until the present time ofthe filing of this federal complaint, Plaintiff
21   Fairchild has been deterred from such use ofthe public accommodation because of Defendants'
Zz   plans to initiate forceful entry, Defendants' threats of arrest and threats of false imprisonment.
23

24   134.     Defendants Carasso Family Trust and Studio Lodge Hotel have a habit of creating
25   discriminatory policies, practices and procedures that prevent full and equal access to the public
26   accommodation. Alison Helen Fairchild believes that, and the evidence shows that, Defendants'
2~   illegal practices will continue and will result in future discrimination against similarly situated
28   disabled persons, until an injunction is issued under the Americans with Disabilities Act.
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     IIED
     -Page 40 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 41 of 100 Page ID #:41




 1

 z      135.      The failure to permit a disabled person to participate in ordinary life activities, such
 3     as those afforded by Defendants' public accommodation, severely affected the quality of Plaintiff
 4     Alison Helen Fairchild's life and produced an irreparable and continuing injury that cannot be
 5     compensated or remedied solely by the award of money. Accordingly, among other remedies,
 6     Alison Helen Fairchild seeks an injunctive order requiring compliance with federal laws allowing
       access to Defendants' facilities by disabled persons, and to stop all violations ofthe civil rights laws
 8     which exist at the Defendants' properties, which will require modification of Defendants' Studio
 9     Lodge Hotel's policies, practices and procedures as alleged herein and as the Court may deem
10     proper.
ii
iz     136.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
13     intentionally denying Alison Helen Fairchild civil rights right to equal public accommodations by
14     intentionally failing to relocate her to ADA approved and handicapped accessible residential hotel
15     room.
16

i~     137.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
18     discriminating against Alison Helen Fairchild on the based on her disability.
19

ao     138.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
21     overseeing the building and structuring of its STUDIO LODGE HOTEL location 11254 Vanowen
zz     Street, Los Angeles, California residential hotel real estate property and intentionally building and
23     constructing a building that had architectural barriers that were an intentional discrimination of
24     Alison Helen Fairchild and countless other disabled tenants since Defendants' Studio Lodge Hotel
25     opened its 11254 Vanowen Street, Los Angeles, California residential hotel to the general
26     public.
27

28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ Sl,54,54.1 & 54.3, et seq., Violation of Cal Nealth & Saf§ 19955, et
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       IIED
       -Page 41 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 42 of 100 Page ID #:42




 i    139.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
 2   intentionally failing to make modifications to its existing 11254 Vanowen Street location building
 3   comply with all federal and state disability laws.
 4

 5   140.      Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS § 12101 by
 6   intentionally denying Alison Helen Fairchild civil rights right to equal public accommodations by
     conspiring and planning to use the assistance of deadly force and unlawful self-help tactics to
 8   remove her permanently from her residential hotel room.
 9

to   141.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
ii   plotting to forcefully enter Alison Helen Fairchild's residential hotel room, and place a locking
12   mechanism on her front door.
13

14   142.     Defendants Carasso Family Trust and Studio Lodge Hotel violated USCS. § 12101 by
15   refusing to accept on time rental payments for her residential hotel room occupancy.
16

i~   143.     WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
is   Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive, on the third cause of action
19   the Plaintiffls complaint in the amount that will justly compensate Ms. Fairchild for her damages,
20

21   together with costs and attorneys' fees in this action.
22

23   FOURTH CAUSE OF ACTION---DENIAL OF FULL AND EOUAL ACCESS IN
24   VIOLATION OF CALIFORNIA CIVIL CODE && 54,54.1 AND 54.3, ET SEQ ALLEGED
25   BY ALISON HELEN FAIRCHILD AS AGAINST DEFENDANTS CARASSO FAMILY
26   TRUST.&DOES 1-20,INCLUSIVE.
27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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     IIED
     -Page 42 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 43 of 100 Page ID #:43




        144.     Plaintiff Alison Helen Fairchild re-allege and incorporate by reference, as if fully set forth
        again herein, the allegations contained in paragraphs 1-143 of this federal complaint.


        145.     At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
       tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
       submitted a late rental payment whatsoever.


        146.     At all relevant times, Defendants' location 11254 Vanowen Street, managers, supervisors
       and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
to     involved with the interest of having Alison Helen Fairchild discriminated against and removed from
ii     its premises permanently.
12

13     147.      At all times, relevant to this action, California Civil Code § 54 has provided that persons witi
14     physical disabilities are not to be discriminated against because of physical handicap ar disability.
15     This section provides that:
16    (a)Individuals with disabilities... have the same rights as the general public to full and free use of
i~     the streets, highways, sidewalks, walkways, public buildings, medical facilities, including hospitals,
is     clinics, and physicians' offices, and other public places.
19

20

ai     148.     California Civil Code § 54.1 provides that persons with disabilities shall not be denied full and
a2     equal access to places of public accommodation or [7] facilities:
23    (a)(1)Individuals with disabilities shall be entitled to full and equal access, as other members of the
24     general public, to accommodations, advantages, facilities, medical facilities, including hospitals,
25     clinics, and physicians' offices, and privileges of all common carriers, airplanes, motor vehicles,
26     railroad trains, motorbuses. streetcars, boats, or any other public conveyances or modes of
z~     transportation (whether private, public, franchised, licensed, contracted, or otherwise provided),
28     telephone facilities, adoption agencies, private schools, hotels, lodging places, places of public
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       IIED
       -Page 43 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 44 of 100 Page ID #:44




        accommodation, amusement or resort, and other places to which the general public is invited,
       subject only to the conditions and limitations established by law, or state or federal regulation, and
        applicable alike to all persons.
       Civil Code§ 54.1(a)(1)


        149.     California Civil Code § 54.1 further provides that a violation ofthe Americans with
       Disabilities Act of 1990 constitutes a violation of section 54.1:
      (d) A violation ofthe right of an individual under the Americans with Disabilities Act of 1990
      (Public Law 101-336) also constitutes a violation of this section, and nothing [8] in this section shall
io     be construed to limit the access of any person in violation ofthat act.
ii     Civil Code § 54. 1(d)
is
13     150.     Plaintiff Alison Helen Fairchild is a person within the meaning of Civil Code § 54.1 whose rig]
14     have been infringed upon and violated by the Defendants Carasso Family Trust and Studio Lodge
15     Hotel, and each of them, as prescribed by §§ 54 and 54.1. Each specific architectural barrier which
16     Defendants knowingly and willfully fail and refuse to remove constitutes a separate act in violation of
1~     §§ 54 and 54.1. Plaintiff Alison Helen Fairchild has been and continues to be denied full and equal
18     access to Defendants' STUDIO LODGE HOTEL location 11254 Vanowen Street, Los Angeles,
19     California. As a legal result, Plaintiff Alison Helen Fairchild is entitled to seek damages pursuant to
20

zi     California Civil Code § 54.3(a)for each day on which she lived at STUDIO LODGE HOTEL because
22     of her knowledge and belief that the residential hotel rooms and entrance and exits of subject property
23     buildings are inaccessible to persons with disabilities. California Civil Code § 54.3(a) provides:
24     Any person or persons, firm or corporation, who denies or interferes with admittance to or
25     enjoyment ofthe public facilities as specified in Sections 54 and 54.1 or otherwise interferes with
26     the rights of an individual with a [9] disability under Sections 54, 54,1 and 54.2 is liable for each
2~     offense for the actual damages and any amount as may be determined by a jury, or the court sitting
28     without a jury, up to a maximum ofthree times the amount of actual damages but in no case less
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
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       IIED
       -Page 44 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 45 of 100 Page ID #:45




       than ...one thousand dollars($ 1,000) and ... attorney's fees as may be determined by the court in
       addition thereto, suffered by any person denied any of the rights provided in Sections 54, 54.1 and
       54.2. Civil Code § 54.3(a)


        151.     From January 27t"2017 until the present time, Plaintiff Alison Helen Fairchild continues to
        suffer violations of §§ 54 and 54.1 ofthe Civil Code in that Plaintiff Alison Helen Fairchild has
       been denied access to her residential hotel room's front door, living room, kitchen and bathroom.
       Ms. Fairchild has been denied access to STUDIO LODGE HOTEL buildings exits and entrances,
       Defendants Carasso Family Trust and Studio Lodge Hotel's subject real property and other public
io     facilities as stated herein at the STUDIO LODGE HOTEL location 11254 Vanowen Street, Los
ii     Angeles, California, and on the basis that Plaintiff Alison Helen Fairchild was a person with
12     physical disabilities.
13

14     152.     Because of the denial of equal access to defendants' facilities. As a result of the denial of
15     equal access her residential hotel room's kitchen, living room, bathroom, front door and STUDIO
16     LODGE HOTEL buildings' entrances and exits, due to the acts and omissions of Defendants
i~     Carasso Family Trust and Studio Lodge Hotel, and each ofthem, in owning, operating and
is     maintaining these subject public facilities, Plaintiff Alison Helen Fairchild suffered violations of
19     plaintiff's civil rights, including but not limited to rights under §§ 54, 54.1 and 54.3, Civil Code, a
ao     Plaintiff Alison Helen Fairchild suffered physical discomfort, bodily injury, emotional distress,
ai     mental distress, mental suffering, mental anguish, which includes shame, humiliation,
22     embarrassment, frustration, anger, disappointment and worry, all of which are expectedly and
23     naturally associated with a denial of a person with physical disabilities, all to plaintiffs damages as
24     hereinafter stated. Defendants Carasso Family Trust and Studio Lodge Hotel. actions and omissions
25     to act constituted discrimination against Plaintiff Alison Helen Fairchild on the sole basis that
26     Plaintiff Alison Helen Fairchild is a person that represents persons with physical disabilities and
27     unable, because ofthe architectural barriers created and maintained by the Defendants in violation
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 45 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 46 of 100 Page ID #:46




     of the subject laws, to use the public facilities hereinabove described on a full and equal basis as
     other persons.


      153.     Plaintiff Alison Helen Fairchild on the sole basis that Plaintiff Alison Helen Fairchild is a
     person that represents persons with physical disabilities and unable, because of the physical barriers
     created and maintained by the defendants in violation of the subject laws, to use STUDIO LODGE
     HOTEL residential hotel rooms, hereinabove, described on a full and equal basis as other persons.


     154.     Plaintiff Alison Helen Fairchild has been damaged by Defendants Carasso Family Trust and
io   Studio Lodge Hotel, and each of their wrongful conduct and seeks the relief that is afforded by Civil
ii   Code §§ 54 and 54.1, 54.3 and 55 for violation of plaintiff Alison Helen Fairchild's rights as a
is   person that represents persons with physical disabilities on or about ,and on a continuing basis since
13   then, including statutory damages, a trebling of all of actual damages, general and special damages
14   available pursuant to § 54.3 ofthe Civil Code according to proof.
15

16   155.     Because of Defendants Carasso Family Trust and Studio Lodge Hotel, and each oftheir acts
i~   and omissions in this regard, Plaintiff Alison Helen Fairchild has been required to incur legal
18   expenses needed for research, to enforce plaintiffs rights and enforce the provisions ofthe law
19   protecting access for persons with physical disabilities and prohibiting discrimination against
20

ai   persons with physical disabilities. Pursuant to the provisions of§ 54.3 and § 55 ofthe Civil Code,
22   plaintiff Alison Helen Fairchild therefore will seek recovery in this lawsuit for all reasonable
23   attorneys' fees and costs incurred if deemed the prevailing party. Additionally, Ms. Fairchild's
24   lawsuit is intended not only to obtain compensation for damages to herself, but also to compel the
25   Defendants Carasso Family Trust and Studio Lodge Hotel to make its facilities accessible to all
26   members ofthe public with disabilities, and to cease interfering with the rights of all members of
2~   public with disabilities by renting out residential hotel rooms to disabled persons that are not
28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985, & 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     LIED
     -Page 46 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 47 of 100 Page ID #:47




     accessible and ADA approved,justifying public interest attorneys' fees, if deemed the prevailing
     party, pursuant to the provisions of§ 1021.5 of the Code of Civil Procedure.



     156.      Defendants Carasso Family Trust and Studio Lodge Hotel violated California Civil Code §
     54.1 by failing to maintain a handicap access ramp on the both sides of its building located at 11254
     Vanowen Street, that would allow Alison Helen Fairchild full and equal access to entrances and

     exits of all STUDIO LODGE HOTEL'S buildings.



     157.     Defendants Carasso Family Trust and Studio Lodge Hotel violated California Civil Code §
to   54.1 by deliberately and intentionally refusing to relocate plaintiff Alison Helen Fairchild into
ii   accessible residential hotel room that would allow Alison Helen Fairchild full and equal access to
12   her kitchen, living room,front door, and bathroom.

13

14   158.     WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
is   Carasso Family Trust and Studio Lodge Hotel and Does 1-20, Inclusive, on the fourth cause of
16   action of the Plaintiff's complaint in the amount that will justly compensate Ms. Fairchild for her
i~   damages, together with costs and attorneys' fees in this action.

18

19

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21

as   FIFTH CAUSE OF ACTION---FOR DENIAL OF ACCESS TO FULL AND EOUAL

23   ACCOMMODATIONS,ADVANTAGES,FACILITIES,PRIVILEGES AND/OR SERVICES
24   IN VIOLATION OF CALIFORNIA CIVIL CODE & 51,ET SEQ(THE UNRUH CIVIL

25   RIGHTS ACT)ALLEGED BY ALISON HELEN FAIRCHILD AS AGAINST
26   DEFENDANTS CARASSO FAMILY TRUST,STUDIO LODGE HOTEL& DOES 1-20,

z~   INCLUSIVE.

2s
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
     IIED
     -Page 47 of l44
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 48 of 100 Page ID #:48




     159.     Plaintiff Alison Helen Fairchild re-allege and incorporate by reference, as if fully set forth
     again herein, the allegations contained in paragraphs 1-158 of this federal complaint.


     160.     At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
     tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
     submitted a late rental payment whatsoever.


     161.     At all relevant times, Defendants' location 11254 Vanowen Street, managers, supervisors
     and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
Zo   involved with the interest of having Alison Helen Fairchild discriminated against and removed from
ii   its premises permanently.
12

13   162.     Defendants Carasso Family Trust and Studio Lodge Hotel's actions and omissions and failure
14   to act as a reasonable and prudent public accommodation in identifying, removing and/or creating
15   architectural barriers, policies, practices and/or procedures violates § 51 of the Civil Code, the Unruh
16   Civil Rights Act. The Unruh Act provides:
i~   This section shall be known, and may be cited, as the Unruh Civil Rights Act.
is   All persons within the jurisdiction ofthis state are free and equal, and no matter what their sex, race,
19   color, religion, ancestry, national origin, or disability are entitled to the full and equal
ao   accommodations, advantages, facilities, privileges, or services in all business establishments of
21

22   every kind whatsoever.
23   This section shall not be construed to confer any right or privilege on a person that is conditioned or
24   limited by law or that is applicable alike to persons of every sex, color, race, religion, ancestry,
25   national origin, or disability.
26   Nothing in this section shall be construed to require any construction, alteration, repair, structural or
z~   otherwise, or modification of any sort whatsoever, beyond that construction, alteration, repair, or
28   modification that is otherwise required by other provisions of law, to any new or existing
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 48 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 49 of 100 Page ID #:49




     establishment, facility, building, improvement, or any other structure ...nor shall anything in this
     section be construed[11] to augment, restrict, or alter in any way the authority of the State
     Architect to require construction, alteration, repair, or modifications that the State Architect
     otherwise possesses pursuant to other ... laws.
     A violation of the right of any individual under the Americans with Disability Act of 1990(Public
     Law 101-336) shall also constitute a violation of this section.
     As the Unruh Act incorporates violations ofthe Americans with Disability Act of 1990, the "intent"
     ofthe defendants in not complying with barrier removal is not an issue. Hence, the failure on the
     part of defendants, as reasonable and prudent public accommodations, in acting or failing to act to
io   identify and remove barriers can be construed as a "negligent per se" act of defendants, and each of
ii   them.
is
13   163.     Defendants Carasso Family Trust and Studio Lodge Hotel's actions and omissions and failure
14   to act as a reasonable and prudent public accommodation by creating unlawful and illegal policies,
15   practices and/or procedures that resulted in the forceful entry of Alison Helen Fairchild, violates § 51 of
16   the Civil Code, the Unruh Civil Rights Act. The Unruh Act provides:
i~   This section shall be known, and may be cited, as the Unruh Civil Rights Act.
is   All persons within the jurisdiction ofthis state are free and equal, and no matter what their sex, race,.
19   color, religion, ancestry, national origin, or disability are entitled to the full and equal
20   accommodations, advantages, facilities, privileges, or services in all business establishments of
21

22   every kind whatsoever.
23   This section shall not be construed to confer any right or privilege on a person that is conditioned or
24   limited by law or that is applicable alike to persons of every sex, color, race, religion, ancestry,
25   national origin, or disability. A violation of the right of any individual under the Americans with
26   Disability Act of 1990(Public Law 101-336) shall also constitute a violation of this section.
27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 49 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 50 of 100 Page ID #:50




        164.     The act and omissions of defendants stated herein are discriminatory in nature and in violation o:
        Civil Code § 51.5:

        No business establishment of any kind whatsoever shall discriminate against, boycott or blacklist,
        refuse to buy from, sell to, or trade with any person in the state because of the race, creed, religion,
        color, national origin, sex, or disability of the person or of the person's partners, members,

        stockholders, directors, officers, managers, superintendents, agents, employees, business associates,
       suppliers, or customers.
        As used in this section, "person" includes any person, firm association, organization, partnership,

       business trust, corporation, limited liability company, or company.
io     Nothing in this section shall be construed to require any construction, alteration, repair, structural or
ii     otherwise, or modification of any sort whatsoever, beyond that construction, alteration, repair or
12     modification that is otherwise required by other provisions of law, to any new or existing
13     establishment, facility, building, improvement, or any other structure ...nor shall anything in this
14     section be construed to augment, restrict or alter in any way the authority ofthe State Architect to
15     require construction, alteration, repair, or modifications that the State Architect otherwise possesses
16     pursuant to other laws.
17

18     165.     Defendants Carasso Family Trust and Studio Lodge Hotel's act and omissions as specified
19     had denied to plaintiff Alison Helen Fairchild full and equal accommodations, advantages, facilities,

zo     privileges and services in a business establishment, on the basis of physical disability, in violation
21     Civil Code §§ 51 and 51.5, the Unruh Civil Rights Act. Furthermore, pursuant to the 1992
22

23     amendment to California Civil Code § 51,"A violation of the right of any individual under the
z4     Americans with Disability Act of 1990 (Public Law 101-336) shall also constitute a violation of this
25     section". Plaintiff Alison Helen Fairchild accordingly incorporate the entirety of her above cause of

26     action for violation ofthe Americans with Disability Act at PP34, et seq., as if re-pled herein.
27

28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 50 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 51 of 100 Page ID #:51




       166.     As a legal result ofthe violation of Plaintiff Alison Helen Fairchild's civil rights as
       hereinabove described, Plaintiff Alison Helen Fairchild has suffered general damages, bodily injury,
       physical injury, emotional distress (all to plaintiffs damage according to proof, and incurred
       reasonable attorneys' fees and costs). Plaintiff Alison Helen Fairchild is entitled to the rights and
       remedies of§ 52(a) of the Civil Code, including trebling of actual damages(defined by § 52(h) of
       the Civil Code to mean "special and general damages"), as well as to reasonable attorneys' fees and
       costs, as is allowed by statute, according to proof if deemed to be the prevailing party.


       167.     WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
io     Carasso Family Trust and Studio Lodge Hotel and DOES 1-20, inclusive, on the fifth cause of
ii     action of the Plaintiff's complaint in the amount that will justly compensate Ms. Fairchild for her
12     damages, together with costs and attorneys' fees in this action.
13

14     SIXTH CAUSE OF ACTION---DENIAL OF ACCESSIBLE SANITARY FACILITIES IN
15     VIOLATION OF CALIFORNIA HEALTH $SAFETY CODE & 19955,ET. SEQ,ALLEGED
16     BY ALISON HELEN FAIRCHILD AS AGAINST DEFENDANTS CARASSO FAMILY
i~     TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE.
is
19     168.    Plaintiff Alison Helen Fairchild re-allege and incorporate by reference, as if fully set forth
20     again herein, the allegations contained in paragraphs 1-167 ofthis federal complaint.
ai
as
23     169.    At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
24     tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
25     submitted a late rental payment whatsoever.
26

a~     170.    At all relevant times, Defendants' location 11254 Vanowen Street, managers, supervisors
28     and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 51 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 52 of 100 Page ID #:52




 i   involved with the interest of having Alison Helen Fairchild discriminated against and removed from
 a   its premises permanently.
 3

 4   171.      Health &Safety Code § 19955 provides in pertinent part:
 s   The purpose ofthis part is to ensure that public accommodations or facilities constructed in this
 6   state with private funds adhere to the provisions of Chapter 7(commencing with Sec. 4450)of
     Division 5 of Title 1 ofthe Government Code. For the purposes of this part "public accommodation
 8   or facilities" means a building, structure, facility, complex, or improved area which is used by the
 9   general public and shall include auditoriums, hospitals, theaters, restaurants, hotels, motels,
io   stadiums, and convention centers. When sanitary facilities are made available for the public, clients
u    or employees in such accommodations or facilities, they shall be made available for the
12   handicapped.
13

14   172.     Health &Safety Code § 19956, which appears in the same chapter as § 19955, provides in
15   pertinent part, "accommodations constructed in this state shall conform to the provisions of Chapter
16   7(commencing with Sec. 4450)of Division 5 of Title 1 ofthe Government Code...." Health &
i~   Safety Code § 19956 was operative July 1, 1970, and is applicable to all public accommodations
is   constructed or altered after that date. On information and belief, portions ofthe STUDIO LODGE
19   HOTEL location 11254 Vanowen Street, Los Angeles, California, andlor ofthe buildings) were
20   constructed and/or altered after July 1, 1970, and substantial portions of the residential hotel and/or
21   the buildings) had alterations, structural repairs, and/or additions made to such public
z2   accommodations after July 1, 1970, thereby requiring said subject real estate property hotel and/or
23   building to be subject to the requirements ofPart 5.5, § 19955, et seq., of the Health &Safety Code
24   upon such alteration, structural repairs or additions per Health &Safety [10] Code § 19959.
25

26   173.     Pursuant to the authority delegated by Government Code § 4450, et seq, the State Architect
2~   promulgated regulations for the enforcement of these provisions. Effective July 1, 1982, Title 24 of
28   the California Building Standards Code adopted the California State Architect's Regulations and
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 52 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 53 of 100 Page ID #:53




     these regulations must be complied with as to any alterations and/or modifications of STUDIO
     LODGE HOTEL location 11254 Vanowen Street, Los Angeles, California, and/or the buildings)
     occurring after that date. Construction changes occurring prior to this date but after July 1, 1970
     triggered access requirements pursuant to the "ASA" requirements, the American Standards
     Association Specifications, Al 17.1-1961. On information and belief, at the time ofthe construction
     and modification of said building, all buildings and facilities covered were required to conform to
     each ofthe standards and specifications described in the American Standards Association
     Specifications and/or those contained in Title 24 ofthe California Building Standards Code.


io   174.     Residential, transient and commercial hotels such as the STUDIO LODGE HOTEL location
ii   1 1254 Vanowen Street, Los Angeles, California, are "public accommodations or facilities" within
12   the meaning of Health &Safety Code § 19955, et seq.
13

14   175.       Because ofthe actions and failure to act of Defendants Carasso Family Trust and Studio
15   Lodge Hotel, and because ofthe failure to provide proper and legally handicapped-accessible public
16   facilities, Plaintiff Alison Helen Fairchild was denied her rights to full and equal access to public
i~   facilities and suffered a loss of her civil rights and Ms. Fairchild's rights as a person with physical
18   disabilities to full and equal access to public facilities.
19

20

21

Zz   176.      Because of Defendants' acts and omissions in this regard, Plaintiff Alison Helen Fairchild
23    has incurred legal expenses for search of drafting this federal complaint to enforce her civil rights
24   and enforce provisions ofthe law protecting access for the persons with physical disabilities and
25   prohibiting discrimination against the persons with physical disabilities, and to take such action be
26   in Alison Fairchild's own interests and to enforce an important right affecting the
a~   public interest. Plaintiff Alison Fairchild, therefore, seek in this lawsuit the recovery of all
28   reasonable attorneys' fees incurred, pursuant to the provisions ofthe Code of Civil Procedure §
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 53 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 54 of 100 Page ID #:54




 i     1021.5. Plaintiff Alison Fairchild, additionally seek attorneys' fees pursuant to Civil Code §§ 54.3
 z     and 55. Plaintiff Alison Fairchild will seek attorneys' fees conditioned upon being deemed to be the
 3     prevailing party.
 4

 5     177.     Plaintiff Alison Fairchild seek injunctive relief for an order compelling Defendants Carasso
 6     Family Trust and Studio Lodge Hotel, and each ofthem, to make the subject place of public
       accommodation readily accessible to and usable by persons with disabilities.
 8

 9     178.     WHEREFORE,Plaintiff Alison Helen Fairchild demands judgment against Defendants
io     Carasso Family Trust and Studio Lodge Hotel. on the fifth cause of action of the Plaintiff's
ii     complaint in the amount that will justly compensate Ms. Fairchild for her damages, together with
iz     costs and attorneys' fees in this action.
13

14     PRELIMINARY FACTUAL ALLEGATIONS REGARDING DISCRIMINATION
15     VIOLATIONS ALLEGED BY PLAINTIFF AROGANT HOLLYWOOD
16

i~     179.    Plaintiff AROGANT HOLLYWOOD is and was a resident of Los Angeles, California at
is     relevant times. Plaintiff Hollywood lived at the Studio Lodge Hotel from January 27t'' 2017 until the
19     present time. At all relevant times stated throughout this lawsuit Arogant Hollywood was a
zo ' residential tenant at Studio Lodge Hotel and was current on his rent every single week of his
ai
22     residential hotel stay. The Studio Lodge Hotel is located at 11254 Vanowen Street, Los Angeles,
23     California.
24

25     180.    This portion of the lawsuit against Defendants Carasso Family Trust and Studio Lodge Hotel
26    I are within the Court's jurisdiction pursuant to California Civil Code §§ 51.5, 51.7, 52.1; 42 U.S.C. §
2~     1981; and Title VI of the Civil Rights Act of 1964
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 54 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 55 of 100 Page ID #:55




 i   181.     Plaintiff Arogant Hollywood is informed and believe and based thereon allege that
 2   Defendants Carasso Family Trust and Studio Lodge Hotel jointly and severally acted intentionally
 3   and with deliberate indifference and conscious disregard to the rights of individuals by racially
 4   discriminating against him in violation of the law.
 5

 6   182. Plaintiff Arogant Hollywood is informed and believes based on thereon allege Defendants
     Carasso Family Trust and Studio Lodge Hotel have engaged in, among other things a system [1] of
 8   willful violations of California Civil Code §§ 51.5, 51.7, 52.1; 42 U.S.C. § 1981; 42 U.S.C. § 51.5,
 9   51.7, 52.1; 42 U.S.C. § 1981; and Title II ofthe Civil Rights Act of 1964 by creating and
to   maintaining policies, practices, and customs that knowingly deny equal rights regardless ofrace,
ii   color or national origin.
iz
13   183.     Venue is proper because Defendants Carasso Family Trust and Studio Lodge Hotel are
14   subject to personal jurisdiction in the State of California, and by Arogant Hollywood paying monies
15   to STUDIO LODGE HOTEL for occupancy of one of its many residential hotel rooms, he entered
16   into a contract with Defendants Carasso Family Trust and Studio Lodge Hotel, and this contract was
i~   entered in the State of California, County of Los Angeles.
ie
19

20

21   184. Plaintiff Arogant Hollywood resides in Los Angeles County, California. At all times,
a2   relevant to the allegations in this action, Plaintiff Arogant Hollywood resided in Los Angeles,
23   California.
24

25   185.     Plaintiff Arogant Hollywood shall hereinafter be referred to as "Plaintiff'.
26

27

28
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     TIED
     -Page 55 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 56 of 100 Page ID #:56




        186.     Plaintiff is informed and believe and based thereon allege that Defendants Carasso Family
        Trust and Studio Lodge Hotel was and were not corporations incorporated in California, however,
       Defendants were and are qualified to do business in the State of California.


        187.     Plaintiff is unaware of the true names and capacities of the Defendants sued herein as DOES
        1 through 20, inclusive, and therefore sue said Defendants by such fictitious names. Plaintiff will
       seek leave to amend this Complaint to allege the true names, capacities, and circumstances
       supporting the liability of said defendants at such time as plaintiff ascertain the same. Plaintiff is
       informed and believe and based thereon allege that each fictitiously named defendant named is
io     responsible for the matters alleged herein and proximately caused plaintiff and members of general
ii     public to be subject to the wrongs and injuries complained of herein.
12

13     188.      Plaintiff is informed and believe and based thereon allege that at all times material hereto,
14     each of the Defendants named herein was the agent, employee, alter ego andlor joint venture of, or
15     working in concert with each of the other co-defendants and was acting within the course and scope
16     ofsuch agency, employment,joint venture, or concerted activity. To the extent said acts, conduct,
i~     and omissions were perpetrated by certain Defendants, each ofthe remaining Defendants confirmed
18     and ratified said acts,[2] conduct, and omissions ofthe acting defendant.
19

20     189.     At all times herein mentioned, the acts and omissions of Defendants Carasso Family Trust
zi     and Studio Lodge Hotel, and each ofthem, concurred and contributed to the various acts and
22     omissions of each and all of the other Defendants in proximately causing the injuries and damages
23     as herein alleged.
24

25     190.     At all times herein mentioned, Defendants, and each ofthem, ratified each act or omission
26     complained of alleged.
27

28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51, 54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED,Negligent
       IIED
      -Page 56 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 57 of 100 Page ID #:57




        191.     Whenever and wherever reference is made in this Complaint to any act by a Defendant or
       Defendants, such allegations and references shall also be deemed to mean the acts and failures to act
        of each Defendant acting individually,jointly, and severally.


        192.     Plaintiff Arogant Hollywood was improperly discriminated against based on his race,
       ethnicity, national origin. Plaintiff is informed and believe and based thereon allege that the
       discrimination suffered by Plaintiff violates his rights under California Civil Code §§ 51.5, 51.7,
       52.1; and 42 U.S.C. § 1981.


io      193.     The identity of Arogant Hollywood is readily ascertainable by review of STUDIO LODGE
ii     HOTEL rental receipts and video footage taken by Plaintiff Arogant Hollywood. Plaintiffs are
12     informed and believe and based thereon allege that it can easily be established through testimonial
13     and documentary evidence that Defendants Carasso Family Trust and Studio Lodge Hotel
14     discriminated against Plaintiff in violation of his civil rights under stated and federal statutes.
15

16     194.     Defendants Carasso Family Trust and Studio Lodge Hotel's manager stated that she was
i~     refusing to not accept any additional money from Plaintiff for no reason at all. Plaintiff is informed
is     and believe and based thereon allege this conduct was accomplished [3] with the knowledge and
19     designed intent to unlawfully discriminate against Plaintiff.
20

21     195.     Plaintiff is informed and believe and based thereon allege the Defendants Carasso Family
22     Trust and Studio Lodge Hotel in violation of state and federal statutes practiced a consistent and
23     uniform policy of unlawfully discriminating against Plaintiff due to his race/national origin.
24

25     196.     There are predominant common questions oflaw and fact concerning whether Defendants
26     unlawfully discriminated against Plaintiff Arogant Hollywood. Defendants' policies and practices
z~     wrongfully and illegally failed to treat Plaintiff as required by federal law. Plaintiff is informed and
2s     believe and based thereon allege his claims revolve around a uniform and willful pattern of statutory
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 57 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 58 of 100 Page ID #:58




     violations for the specific purpose of avoiding legally mandated compensation.



     197.      Central to the commonality inquiry is Defendants' conduct toward Plaintiff Arogant
     Hollywood. Arogant Hollywood is a victim of violation of his civil rights based on his race,

     ancestry and national origin. Plaintiff was [4] was denied access to his residential hotel room based

     on his race, ancestry national origin and ancestry. Plaintiff was [5] told that he would have to check

     out of his residential hotel room on February 17t"2017 for doing nothing wrong whatsoever.
     Plaintiff was [6] denied his constitutional right to make and enforce contracts at any business

     licensed in the United States of America. Plaintiff Arogant Hollywood was [7] told that his money
io   for payment of his residential hotel room would not be accepted by Studio Lodge Hotel. "On
ii   February 17th'you must check out or we will contact the police to have you both removed."Quotin
12   Studio Lodge Hotel manager on page 23, at line 13-14.

13

14   198.     The civil rights laws upon which plaintiff Arogant Hollywood bases his claims are broadly
15   remedial in nature. These laws serve an important public interest in insuring equal protection for

16   members of all races and ethnicities. These laws protect the interests and rights of Americans who
i~   have suffered discrimination, and are particularly important in the era of heightened fear that has

18   followed the events of September 11, 2001.

19

zo   199.     The nature ofthis action and the format oflaws available to Plaintiff Arogant Hollywood
21   identified herein make this action format a particularly efficient and appropriate procedure to redress

22   the wrongs alleged herein.
23

24   200.     Plaintiff Arogant Hollywood is seeking declaratory, injunctive, and monetary relief for

25   damages suffered.
26

a~   FACTUAL ALLEGATIONS RELEVANT TO ALL DISCRIMINATION CAUSES OF

2a   ACTION ALLEGED BY PLAINTIFF AROGANT HOLLYWOOD
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 58 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 59 of 100 Page ID #:59




 1

 2     201. Plaintiff AROGANT HOLLYWOOD is and was a resident of Los Angeles, California at
 3     relevant times. Plaintiff Hollywood lived at the Studio Lodge Hotel from January 27~" until the
 9     present time. At all relevant times stated throughout this lawsuit Arogant Hollywood was a
 5     residential tenant at the Studio Lodge Hotel and was current on his rent every single week of his
 6     residential hotel stay. The Studio Lodge Hotel is located at 11254 Vanowen Street, Los Angeles,
       California.
 e
 9     202.     On February 10th 2017 a Studio Lodge Hotel general manager told plaintiff Arogant
io     Hollywood that he would have to check out on February 17t"2017.
ii
12     203.     On February l Ot"2017 a Studio Lodge Hotel general manager refused to accept money from
13     Plaintiff Arogant Hollywood.
14

15     204.    On February 10th 2017 a Studio Lodge Hotel general manager told Plaintiff Arogant
16     Hollywood if he did not check out of his residential hotel room on February 17t" 2017 the Studio
i~     Lodge Hotel would have him arrested and prosecuted for trespassing.
is     SEVENTH CAUSE OF ACTION---VIOLATION OF CALIFORNIA CIVIL CODE
19     SECTION 51.5 ALLEGED BY AROGANT HOLLYWOOD AS AGAINST DEFENDANTS
zo     CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE.
21

22     205. Plaintiff Arogant Hollywood re-allege and incorporate by reference paragraphs 1-204.
23

29     206.    At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
25     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
26     late rental payment whatsoever.
27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ ll59 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 59 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 60 of 100 Page ID #:60




       207.     At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
       general manager, supervisors and employees were employed by Carasso Family Trust and Studio
       Lodge Hotel, and were fully involved with the interest of having Arogant Hollywood
       discriminated against and removed from its premises permanently.


       208.     This cause of action is brought against Defendants pursuant to its intentional and willful
       violations ofPlaintiffs civil rights under California Civil Code § 51.5.


       209.     The conduct of Defendants Carasso Family Trust and Studio Lodge Hotel violated California
io     Civil Code § 51.5 in that Defendant Studio Lodge Hotel, a business establishment, discriminated
u      against, boycotted, or blacklisted, or refused to buy from, contract with, sell to or trade with
12     Arogant Hollywood based on his race, color, religion, ancestry, and national origin.
13

14     210.    As a direct and legal result of Defendants' violation of Civil Code § 51.5 and other state
15     constitutional rights, Plaintiff Arogant Hollywood suffered violations of his civil rights.
16

i~     211.    As a direct, foreseeable, and proximate result of said wrongful acts by Defendants Carasso
is
19     Family Trust and Studio Lodge Hotel, Plaintiff Arogant Hollywood suffered incidental and
zo     consequential damages and losses, all in an amount to be proven at time of trial. Plaintiff claims
ai     such amount as damages together with prejudgment interest pursuant to California Civil Code §
z2     3287 and any other provision oflaw providing for prejudgment interest.
23

24    212.     As a further direct, foreseeable, and proximate result of said wrongful acts by Defendants
25     Carasso Family Trust and Studio Lodge Hotel. Plaintiff suffered and will continue to suffer
26     humiliation, shame, despair, embarrassment,[8] depression, and mental pain and anguish, all to the
2~    Plaintiff's damage in an amount to be proven at time of trial.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
      -Page 60 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 61 of 100 Page ID #:61




       213.     As a further direct, foreseeable, and proximate result of said wrongful acts by Defendants
       Carasso Family Trust and Studio Lodge Hotel. Plaintiff Arogant Hollywood has incurred attorney's
       fees in an amount to be determined, for which Plaintiff claims a sum to be established according to
       proof.


       214.     The conduct of Defendants and their agents and employees as described herein was
       oppressive, fraudulent and malicious, done in conscious disregard of Plaintiff Arogant Hollywood's
       civil rights, and done by management employees of Defendants Carasso Family Trust and Studio
       Lodge Hotel(Doing Business as STUDIO LODGE HOTEL). Plaintiff Arogant Hollywood is
io     thereby entitled to an award of punitive damages against Defendants Carasso Family Trust and
ii     Studio Lodge Hotel, in an amount appropriate to punish and make an example of Defendants, and in
is     an amount to conform to proof.
13

14     215.     WHEREFORE,Plaintiff Arogant Hollywood demands judgment against Defendants
15     Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive. on the seventh cause of
16     action ofthe Plaintiff's complaint in the amount that will justly compensate Mr. Hollywood for his
i~     damages, together with costs and attorneys' fees in this action.
18

19     EIGHT CAUSE OF ACTION---VIOLATION OF CALIFORNIA CIVIL CODE & 51.7
20     ALLEGED BY PLAINTIFF AROGANT HOLLYWOOD AS AGAINST DEFENDANTS
21     CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE.
22

23    216.      Plaintiff Arogant Hollywood re-allege and incorporate by reference paragraphs 1-215.
24

25    217.      At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
26    ofSTUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
2~    late rental payment whatsoever.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ S1.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      11ED
      -Page 61 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 62 of 100 Page ID #:62




       218.      At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
       general manager, supervisors and employees were employed by Carasso Family Trust and Studio
       Lodge Hotel, and were fully involved with the interest of having Arogant Hollywood discriminated
       against and removed from its premises permanently.


       219.      This cause of action is brought against Defendants pursuant to its intentional and willful
       violations ofPlaintiff's civil rights under California Civil Code § 51.7.


       220.      The conduct of Defendants by Carasso Family Trust and Studio Lodge Hotel violated
io     California Civil Code § 51.7 in that Defendant violated Plaintiff's rights to be free from any
ii     violence,[9] or intimidation by threat of violence because of his race, color, religion, ancestry, and
12     national origin.
13

14     221.      As a direct, foreseeable and proximate result of Defendants' violation of Civil Code § 51.7
15     and other state constitutional rights, Plaintiff Arogant Hollywood suffered violation of his civil
16     rights.
17

18     222.      As a direct, foreseeable, and proximate result of said wrongful acts by Defendants by
19     Carasso Family Trust and Studio Lodge Hotel, Plaintiff suffered incidental and consequential
ao     damages and losses, all in an amount to be proven at time of trial. Plaintiff claims such amount as
zi     damages together with prejudgment interest pursuant to Civil Code § 3287 and any other provision
22     oflaw providing for prejudgment interest.
23

24     223.      As a further direct, foreseeable, and proximate result of said wrongful acts by Defendants
25     Carasso Family Trust and Studio Lodge Hotel. Plaintiff Arogant Hollywood suffered and will
26     continue to suffer humiliation, shame, despair, embarrassment, depression, and mental pain and
2~     anguish, all to Plaintiffs damage in an amount to be proven at time oftrial.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 62 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 63 of 100 Page ID #:63




       224.    As a further direct, foreseeable, and proximate result of said wrongful acts by Defendants,
       Carasso Family Trust and Studio Lodge Hotel. Plaintiff has incurred attorney's fees in an amount to
       be determined, for which Plaintiff claims a sum to be established [10] according to proof.


       225.    The conduct of Defendants and their agents and employees as described herein was
       oppressive, fraudulent and malicious, done in conscious disregard of Plaintiff's rights, and one by
       managerial employees of Defendants Carasso Family Trust and Studio Lodge Hotel(Doing
       Business as STUDIO LODGE HOTEL). Plaintiff is thereby entitled to an award of punitive
       damages against Defendants Carasso Family Trust and Studio Lodge Hotel, in an amount
io     appropriate to punish and make an example of Defendants, and in an amount to conform to proof.
i1
12     226.    WHEREFORE,Plaintiff Arogant Hollywood demands judgment against Defendants
13     Carasso Family Trust and Studio Lodge Hotel on the eighth cause of action ofthe Plaintiff's
14     complaint in the amount that will justly compensate Mr. Hollywood for his damages, together with
15     costs and attorneys' fees in this action.
16

i~     NINTH CAUSE OF ACTION---VIOLATION OF CALIFORNIA CIVIL CODE ~ 52.1
18     ALLEGED BY PLAINTIFF AROGANT HOLLYWOOD AS AGAINST DEFENDANTS
19     CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE.
20

21    227.     Plaintiff Arogant Hollywood re-allege and incorporate by reference paragraphs 1-226.
22

23    228.     At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
24     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
25     late rental payment whatsoever.
26

2~    229.     At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
28    general manager, supervisors and employees were employed by Carasso Family Trust and Studio
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IiED
      -Page 63 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 64 of 100 Page ID #:64




       Lodge Hotel and were fully involved with the interest of having Arogant Hollywood discriminated
       against and removed from its premises permanently.


       230.     This cause of action is brought against Carasso Family Trust and Studio Lodge Hotel
       pursuant to its intentional and willful violations of Plaintiff's civil rights under California Civil
       Code § 52.1.


       231.     California Civil Code § 52.'1 (b), states the following: Any individual whose exercise or
       enjoyment ofrights secured by the Constitution or laws of the United States, or of rights secured by
io     the Constitution or laws of this state, has been interfered with, or attempted to be interfered with, as
ii     described in subdivision (a), may institute and prosecute in his or her own name and on his or her
12     own behalf a civil action for damages, including, but not limited to, damages under Section 52,
13     injunctive relief, and other appropriate equitable relief to protect the peaceable exercise or
14     enjoyment ofthe right of rights secured.
15

16     232.    The conduct of Defendants Carasso Family Trust and Studio Lodge Hotel violated Californ
i~     Civil Code § 52.1, in that Defendant, attempted to, and did, by threats, intimidation, or coercion, a
18     using wrongful and deadly force, interfere with Plaintiff Arogant Hollywood's civil rights secured
19     by the Constitution or laws ofthe United States, including the right to be free from discrimination.
20

21    233.     Defendant's interference with Plaintiff Arogant Hollywood's exercise and enjoyment of his
a2    civil and constitutional rights, as herein alleged, were due[11]to Plaintiff's race, color, religion,
23     ancestry, and national origin.
24

25    234.     Defendants Carasso Family Trust and Studio Lodge Hotel. attempted to, and did, by threats,
26    intimidation, and coercion, interfere with the exercise and enjoyment of the civil and constitutional
2~    rights of Plaintiff secured by the California State Constitution.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 64 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 65 of 100 Page ID #:65




 i     235.    Defendants' interference with Plaintiff's enjoyment of his civil and constitutional rights, as
 2     alleged herein, was due to Plaintiff's race, color, religion, ancestry, and national origin.
 3

 4     236.    Such actions by Defendants Carasso Family Trust and Studio Lodge Hotel were without any
 5     legitimate cause or justification and were intentional, malicious, reckless and in bad faith.
 6

       237.    As a direct and legal result of Defendants' violation of Civil Code § 52.1 and other state
 8     constitutional rights, Plaintiff Arogant Hollywood suffered violations of his civil rights.
 9

io     238.    By virtue of the provisions of Civil Code § 52.1, Defendants Carasso Family Trust and
ii     Studio Lodge Hotel acted willfully, maliciously, intentionally, oppressively and in reckless
is     disregard ofthe possible consequences oftheir conduct and accordingly, Plaintiff is entitled[12] to
13     and hereby demand punitive and exemplary damages for the sake of example and by way of
14     punishing Defendants in an amount to be proven at trial.
15

16     239.    By virtue ofthe provisions of Civil Code § 52.1, Plaintiff Arogant Hollywood is entitled to
i~     and demand three times the amount of actual damages.
18

19     240.    By virtue of the provisions of Civil Code § 52.1, Plaintiff is entitled to and demand a civil
Zo     penalty oftwenty-five thousand dollars.
ai
22    241.     By virtue ofthe provisions of Civil Code § 52.1, Plaintiff is entitled to and demands and
23     award ofreasonable attorneys' fees.
24

25    242.     By virtue ofthe provisions of Civil Code § 52.1, Plaintiff seek, on his own behalf and on
26     behalf of the general public, an injunction to prohibit Defendants Carasso Family Trust and Studio
27    Lodge Hotel from engaging in the unfair business practices complained of herein.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990[42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 65 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 66 of 100 Page ID #:66




       243.     The conduct of Defendants Carasso Family Trust and Studio Lodge Hotel and their agents
       and employees as described herein was oppressive, fraudulent and malicious, done in conscious
       disregard ofPlaintiff Arogant Hollywood's civil rights, and done by managerial employees of
       Defendants Carasso Family Trust and Studio Lodge Hotel(Doing Business as STUDIO LODGE
       HOTEL). Plaintiff is thereby entitled to an award of punitive damages against Defendants Carasso
       Family Trust and Studio Lodge Hotel, in an amount appropriate to punish and make an example of
       defendants,[13] and in an amount to conform to proof.


       244.    WHEREFORE,Plaintiff Arogant Hollywood demands judgment against Defendants
io     Carasso Family Trust and Studio Lodge Hotel on the ninth cause of action of the Plaintiff's
ii     complaint in the amount that will justly compensate Mr. Hollywood for his damages, together with
iz     costs and attorneys' fees in this action.
13

14

15              [ CAUSE OF ACTION---DISCRIMINATION IN VIOLATI(
16     CIVIL RIGHTS ACT of 1964, U.S.C.S. 42 ~ 1981(EQUAL RIGHTS)ALLEGED BY
i~     PLAINTIFF AROGANT HOLLYWOOD AS AGAINST DEFENDANTS CARASSO
18     FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,INCLUSIVE
19

zo     245.    Plaintiff Arogant Hollywood re-allege and incorporate by reference paragraphs 1-244.
zi
az     246.    At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
23     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
24     late rental payment whatsoever.
25

26    247.     At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
2~    general manager, supervisors and employees were employed by Carasso Family Trust and Studio
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 66 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 67 of 100 Page ID #:67




 i     Lodge Hotel, and were fully involved with the interest of having Arogant Hollywood discriminated
 z     against and removed from its premises permanently.
 3

 4     248.    This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
 5     Hotel Inc pursuant to its intentional and willful violations ofPlaintiff's civil rights under 42 USC §
 6     1981.
 7

 8     249.    Congress enacted the Civil Rights Act to ensure that a dollar in the hands of a Negro will
 9     purchase the same thing as a dollar in the hands of a white... "Jones v. Alfred H. Mayer Co., 393
io     U.S., 409, 443 (1968).: The aim of[the Act] is to remove the impediment of discrimination from a
ii     minority citizen's ability to participate fully and equally in the marketplace. "Bobbitt v. Bobbitt v.
12     Rage, Inc., 19 F. Supp. 2d 512, 516(W.D.N.C. 1998); see also Patterson v. McLean Credit union,
13     491 U.S. 164, 190(1989).
14

is     250.    Through 42 U.S.C. § 1981,"Congress intended to prohibit `all racial discrimination, private
16     and public, in the sale of property." And in the making and enforcement of contracts. Runyon v.
i~     McCrary, 427, U.S. 160, 170(1976)(quoting.Iones v. Alfred H. Mayer Co., 392 U.S. 409, 437
18   (1968). It is the aim of the statute "to remove the impediment of discrimination from a minority
19     citizen's ability participate fully and equally in the marketplace." Brown v. American Honda Motor
20     Co., 939 F.2d 946, 949(11th Cir. 1991).
21

az    251.     Plaintiff Arogant Hollywood avers that he is a member of a racial minority, that Defendants
23     intended to discriminate against him based on his race, and the discrimination concerned at least
24     one, if not more, ofthe activities enumerated in the statute.
25

26    252.     On information and belief, Plaintiff Arogant Hollywood avers that Defendants Carasso
2~    Family Trust and Studio Lodge Hotel treated similarly situated individuals outside of his racial
28     group differently.
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955,
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
      -Page 67 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 68 of 100 Page ID #:68




 1

 z     253.     On information and belief, Plaintiff Arogant Hollywood avers that Defendants Carasso
 3     Family Trust and Studio Lodge Hotel. were motivated by racial animus when they refused to
 4     contract on equal terms with Arogant Hollywood based on his race.
 5

 6     254.    On information and belief, Plaintiff Arogant Hollywood avers that those benefits, privileges,
       terms and conditions of which Arogant Hollywood was deprived or whose right to same was
 8     impaired by acts of discrimination, were enjoyed by white citizens ofthe United States, in violation
 9     of42 U.S.C. § 1981.
10

ii     255.    On information and belief, Plaintiff Arogant Hollywood avers that the discrimination
12     complained of is causally connected to his race, which is black.
13

14     256. Indirect evidence of discriminatory intent is circumstantial evidence from which racial
15     motivation can be inferred. See Hampton v. Dillard Dept Stores, 247 F.3d 1091, 1109 (10`h Cir.
16     2001), cent. Denied, 534 U.S. 1131 (2002)(stating that evidence of discrimination need not be
i~     admitted); Joseph v. N.Y. Yankees P'ship, No. 00 CIV. 2275(SHS), 2000 WI. 1559019, at *S
18   (S.D.N.Y. Oct. 19, 2000)(explaining that discriminatory intent can be inferred when plaintiff can
19     show specific instances where individuals situated similarly "in all relevant aspects" were treated
zo     differently according to their race); Washington v. Duty Free Shoppers, Ltd., 710 F. Supp. 1288,
21     1289(N.D. Cal. 1988)(explaining that a confession of discrimination is not necessary for finding
az     evidence of discrimination).
23

24    257. Plaintiff Arogant Hollywood avers that the facts as alleged herein present sufficient evidence
25    that the Defendants Carasso Family Trust and Studio Lodge Hotel denied Plaintiff residency while
26     white tenants were allowed to enter and receive the accommodation and service and that Studio
a~    Lodge Hotel denied Arogant Hollywood the right to "make and enforce contracts on the same basis
28    as white citizens" when Studio Lodge Hotel refused to accept rent and threatened to use the Los
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 68 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 69 of 100 Page ID #:69




       Angeles police department to assist in forceful entry and forceful removal of Plaintiff, while Studio
       Lodge Hotel did accommodate, serve, make contracts, and accept rent from white tenants and guest
       paying that were paying monies to stay at Studio Lodge Hotel from January 27t"2017 until the
       present day.


       258.     Plaintiff Arogant Hollywood avers he has the option of proving that he was deprived of
       services while similarly situated persons outside the protected class were not. Callwood v. Dave &
       Buster's, 98 F. Supp. 2d 694, 707(D.MD. 2000); see also Murrell v. Ocean Mecca Motel, 262 F.3d
       253, 257(4th Cir. 2001)(stating similar test for establishing a prima facie case of race
to     discrimination in eviction from motel); see Christian v. Wal-Mart Stores, 252 F.3d 862, 873 (6rh
ii     Cir. 2001)(This language:"which makes actionable the deprivation of service, as opposed to an
12     outright refusal of service, better comprehends the realities of commercial establishment cases in
13     which an aggrieved plaintiff may have been asked to leave the place of business prior to completing
i4 (his) purchase, refused service within the establishment, or refused outright access to the
15     establishment. It is thus in harmony with the promise of § 1981 (b), which guaranties all persons
16     equal rights in "the making, performance, modification, and termination of contracts, and the
i~     enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship.")
18

19     259.     Plaintiff Arogant Hollywood attempted to contract with Defendants' Studio Lodge Hotel, but
20     was repeatedly prevented from doing so because Plaintiff Hollywood was denied reasonable
21     accommodation into Studio Lodge Hotel. Arogant Hollywood attempted to gain entry, and therefore
as     Plaintiff states a plausible cause of action under § 1981 because similarly situated Caucasian tenants
23     and guests were allowed reasonable accommodation to enter Studio Lodge Hotel and enter into a
24     contract with said Defendants. Plaintiff Arogant Hollywood avers that Studio Lodge Hotel's refusal
25     to allow him reasonable accommodation to stay at its residential hotel after Plaintiff Hollywood had
26     in fact attempted to pay for his room, was the equivalent to a refusal to contract with Defendants. It
2~     was a discriminatory refusal to deal, and the license to enter Studio Lodge Hotel's residential hotel
28     rooms was necessary to make good on the residential hotel's implicit invitation to deal. Defendants
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985, & 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       LIED
       -Page 69 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 70 of 100 Page ID #:70




 i     Carasso Family Trust and Studio Lodge Hotel's refusal to accommodate Plaintiff Arogant
 z     Hollywood denied a male African-American the right to contract on the same terms and conditions
 3     as is enjoyed by white citizens. Further, race-based harassment interferes with the right of a
 4     customer of color to contract on the same terms as white customers. See BriefofAmicus Curia
 5     Lawyers' Committeefor Civil Rights Under Law, at S, Hampton v. Dillard Dept Stores, 247 F. 3d
 6     1091 (10`h Cir. 2001)(Nos. 98 3011, 98-3261) cent. denied, 534 U.S. 1131 (2002).
 7

 8     260.     Plaintiff Arogant Hollywood further believes he can demonstrate that any reasons
 9     Defendants Carasso Family Trust and Studio Lodge Hotel may offer that purport to show they
io     excluded Plaintiff Hollywood for legitimate, non-discriminatory reasons are a pretext for
it     discrimination, as Plaintiff Hollywood avers he can show that any such reasons proffered by
12     Defendants Carasso Family Trust and Studio Lodge Hotel have no basis in fact, that the reasons are
13     not the actual reasons, and that the stated reasons are insufficient to explain Defendants' action. See
14     McDonnell Douglas Corp. v. Green, 411 U.S. 793, 804(1973); Christian v. Wal-Mart Stores, 252
15     F. 3d at 879; see also Johnson v. Univ. ofCincinnati, 21S F.ed 561, 572(6th Cir. 2000).
16

i~     261.     Because ofthe violations of Plaintiff Arogant Hollywood's rights under 42 U.S.C. § 1981,
18     Plaintiff Hollywood has been damaged and claims entitlement to all relief as may be afforded him
19     redress said wrongs.
20

21     262.     There is no exhaustion of state remedies requirement prior to Plaintiff Arogant Hollywood
2a     bringing this Complaint in federal court. Plummer v. Chicago Journeyman Plumbers'Local Union
23     No. 130, 452 F.Supp. 1127(1978), rev'd on other grounds 657 F.2d 890 (7th Cir. 1981).
24

25     263.      The District Court generally exercises jurisdiction in conformity with the laws ofthe United
26     States; however, in cases where those laws are not adequate to furnish suitable remedies, state
z~     common law governs. 42 U.S.C. § 1988.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       LIED
       -Page 70 of l44
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 71 of 100 Page ID #:71




 i     264. Plaintiff Arogant Hollywood maintains that the Defendants Carasso Family Trust and Studio
 a     Lodge Hotel, and each and all ofthem, are directly liable to Plaintiff Hollywood under 42 U.S.C.S.
 3     § 1981 for the deliberate and intentional actions of the Studio Lodge Hotel and their agents and/or
 4     partners and/or joint ventures and/or employees and/or representatives.
 5

 6     265. Plaintiff Arogant Hollywood maintains alternately that Carasso Family Trust and Studio
       Lodge Hotel Defendants or Defendants is or are liable to Plaintiff Hollywood under 42 U.S.C. §
 8     1981 pursuant to the doctrine of respondent superior.
 9

10

it     266. Punitive damages are available under 42 U.S.C. § 1981.2 "[A]jury may be permitted to
is     assess punitive damages" in a civil rights case "when the defendant's conduct is shown to be
13     motivated by evil motive or intent, or when it involves recklessness or callous indifference to the
i4    federally protected rights of others." Smith v. Wade, 461 U.S. 30, 56(1983)(applying common law
15    tort rules to action brought under 42 U.S.C. § 1983); see also Kolstad v. American Dental Assn,
16    527 U.S. 526, 535(1999)(recognizing that Congress adopted the Wade standard in providing for
i~     punitive damages in Title II and ADA cases); Bisbal-Ramos v. City ofMayaguez 467F.3d 16, 25
18   (1St Cir. 2006)(quoting Wade)
19

zo    267. Plaintiff Arogant Hollywood proffers that the same reasons that punitive damages are
z1    necessary to deter the Defendants from engaging in discriminatory conduct in the future, this Court
22    should fashion an appropriate injunction ordering the Defendants Carasso Family Trust and Studio
23    Lodge Hotel to take affirmative steps to prevent similar occurrences.
24

25    268.     Plaintiff Arogant Hollywood avers that this Court must impose injunction to force Studio
26    Lodge Hotel to take steps to stop its discriminatory treatment of similarly situated African-Amer
z~    tenants and guests.
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 71 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 72 of 100 Page ID #:72




 i     269.    On information and belief, Defendants engaged in intentional discrimination based on
 2     Plaintiff Arogant Hollywood's perceived race, color, ethnicity, or ancestry, and caused Plaintiff
 3     Hollywood to suffer deprivation of his right make and enforce contracts, with deliberate and
 4     substantial disregard for Plaintiff's rights.
 5

 6     270.    Defendants' actions violated 42 U.S.C. § 1981, et seq. This Court cannot in good conscience
       remain silent while California citizens are subject to invidious racial discrimination.
 8

 9

io     271.    Plaintiff Arogant Hollywood had a contract with Defendants Carasso Family Trust and
ii     Studio Lodge Hotel. Plaintiff created this contract by signing a written agreement to live at STUDI(
12     LODGE HOTEL,and honored this agreement by paying monies for rent every single week on time
13

14     272.    Defendants Carasso Family Trust and Studio Lodge Hotel breached this contract when its
15     general manager and employees refused to accept further rental payments from Plaintiff Arogant
16     Hollywood.
17

18    273.     Defendants Carasso Family Trust and Studio Lodge Hotel breached this contract when its
19     employees and managers told Plaintiff that he would have to check out his residential hotel room or
20    February 17th 2017 for no reason at all.
2i
a2    274.     The employees and managers of STUDIO LODGE HOTEL were at all relevant times agent
23     and/or employees of Defendants Carasso Family Trust and Studio Lodge Hotel. The employees and
24     managers that intentionally discriminated against Plaintiff were at all times acting at the directions
25     of agent of Defendants Carasso Family Trust and Studio Lodge Hotel.
26

a~    275.     The employees and managers for STUDIO LODGE HOTEL were at all relevant times
28    agents and/or employees of Defendants Carasso Family Trust and Studio Lodge Hotel. The
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, e
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 72 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 73 of 100 Page ID #:73




       employees and managers that threatened to call law enforcement on Plaintiff Arogant Hollywood
       for no legitimate reason, were at all relevant times agents and/or employees of Defendants Carasso
       Family Trust and Studio Lodge Hotel. The employees and managers ghat threatened to have Plainti:
       trespassed from his residential hotel room were at all relevant times agents and/or employees of
       Defendants Carasso Family Trust and Studio Lodge Hotel.


       276.    Plaintiff Arogant Hollywood seek, on his own behalf and the general public, full
       compensation for the discriminatory acts he suffered.


io     277.    As a direct, foreseeable, and proximate[14] result of and wrongful acts by Defendants
ii     Carasso Family Trust and Studio Lodge Hotel. Plaintiff Arogant Hollywood suffered and will
lz     continue to suffer humiliation, shame, despair, embarrassment, depression, and mental pain and
13     anguish, all to Plaintiffs damage in an amount to be proven at time of trial.
14

15    278.     As a further direct, foreseeable, and proximate result of said wrongful acts by Defendants
16     Carasso Family Trust and Studio Lodge Hotel. Plaintiff has incurred attorney's fees in an amount tc
i~     be determined, for which Plaintiff claims a sum to be established according to proof.
18

19    279.     The conduct of Defendants Carasso Family Trust and Studio Lodge Hotel and their agents
20     and employees as described herein was oppressive, fraudulent and malicious, done in conscious
21     disregard of Plaintiffs civil rights, and done by managerial employees of Defendants Carasso
a2    Family Trust and Studio Lodge Hotel. Plaintiff Arogant Hollywood is thereby entitled to an award
23    of punitive damages against Defendants Carasso Family Trust and Studio Lodge Hotel in amount
24    appropriate to punish and make an example of Defendants, and in an amount to conform to proof.
25

26    280.     WHEREFORE,Plaintiff Arogant Hollywood demands judgment against Defendants
a~    Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive on the tenth cause of action o~
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, e
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7,52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent TIED, Negligent
      IIED
      -Page 73 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 74 of 100 Page ID #:74




       the Plaintiff's complaint in the amount that will justly compensate Mr. Hollywood for his damages,
       together with costs and attorneys' fees in this action.




io     REMAINING CAUSES OF ACTIONS ALLEGED BY BOTH ALISON HELEN
Zi     FAIRCHILD & AROGANT HOLLYWOOD
12

13     ELEVENTH CAUSE OF ACTION---VIOLATION OF 42 USC ~ 1985(CONSPIRACY TO
14     INTERFERE WITH CIVIL RIGHTS)ALLEGED BY PLAINTIFFS AROGANT
15     HOLLYWOOD & ALISON HELEN FAIRCHILD AS AGAINST DEFENDANTS CARASSO
16     FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20 INCLUSIVE.
17

18     281.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild re-allege and incorporate by
19     reference paragraphs 1-280.
20

zi    282.      At all relevant times stated in this lawsuit Arogant Hollywood and Alison Helen Fairchild
22     were paying residential tenants of STUDIO LODGE HOTEL and both Plaintiffs were current on
23     their rent every single week, and never submitted a late rental payment whatsoever.
24

25     283.     At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
26     general manager, supervisors and employees were employed by Carasso Family Trust and Studio
2~     Lodge Hotel, and were fully involved with the interest of having Plaintiffs Alison Helen Fairchild
28     and Arogant Hollywood discriminated against and removed from its premises permanently.
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 (42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 74 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 75 of 100 Page ID #:75




 1

 a     284.    This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
 3     Hotel., pursuant to its intentional and willful violations of Plaintiffs' civil rights under 42 USC §
 4     1985.
 5

 6     285.    42 U.S.C. § 1985(3) provides citizens with a cause of action against private conspiracies to
       violation constitutional rights. No state action prerequisite exists for such lawsuits.
 8

 9     286.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild alleges conspiracy to interfere wi
to     his civil rights under 42 U.S.C. § 1985(3). Section 1985(3) provides, in pertinent part, that: "Iftwo
ii     or more persons...go...on the premises of another, for the purpose of depriving...any person...of
is     the equal protection ofthe laws, or of equal privileges and immunities under the laws, or for the
13     purpose of preventing or hindering the constituted authorities...from giving or securing to all
14     persons... the equal protection ofthe laws[;]...the party so injured or deprived may have an action
15     for the recovery of damages occasioned by such injury or deprivation...." Id. It is well settled that
16    "[t]o state a claim under § 1985(3), there must be `some racial, or perhaps otherwise class-based
i~     invidiously discriminatory animus behind the conspirators' action."' Gedrich v. Fairfax County
is    Dept ofFamily Servs., 91 S.Ct. 1790, 29 L. Ed. 2d 338 (1971)).
19

20     287.    Defendant conspirators) become the agent of the other conspirator(s), and any act done by
ai     one of the combination is regarded under the law as the act of both or all. In other words, what one
2a     does, if there is this combination, becomes the act of both or all of them, no matter which individual
23     may have done it. This is true to each member ofthe conspiracy, even those whose involvement wa:
24     limited to a minor role in the unlawful transaction, and it makes no difference whether or not such
25     individual shared in the profits of the actions.(Am. Jur. Pleading and Practice Forms, Conspiracy §
26    9).
27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 75 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 76 of 100 Page ID #:76




       288.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild alleges that the Defendants, and
       each of them, engaged in an illegal conspiracy to interfere with Plaintiffs Arogant Hollywood and
       Alison Helen Fairchild's civil rights in violation of42 U.S.C. § 1985.


       289.     Specifically, the Defendants, and each of them, did, in violation of42 U.S.C. § 1985(3),
       conspire with another for the purpose of depriving, either directly or indirectly, Plaintiff Arogant
       Hollywood as a member of the African-American (black) class of persons, of the equal protection
       the laws, and of equal privileges and immunities under the laws.


io     290.     Specifically, the Defendants, and each ofthem, did, in violation of42 U.S.C. § 1985(3),
ii     conspire with another for the purpose of depriving, either directly or indirectly, Plaintiffs Arogant
12     Hollywood as a member ofthe disabled/handicapped class of persons, ofthe equal protection of the
13     laws, and of equal privileges and immunities under the laws.
14

15     291.    As alleged herein, Defendants maliciously conspired with conspirators/co-conspirators with
16     the intent to injure Plaintiffs Arogant Hollywood and Alison Helen Fairchild. Defendants Carasso
i~     Family Trust and Studio Lodge Hotel. and two of its employees of Studio Lodge Hotel violated §
is     1985 by each ofthem participating in plans and conspiracies to forcefully remove Plaintiffs, and by
19     refusing to accept rental payments from both Plaintiffs. By engaging in these conspired acts
20     together, and with multiple conspirators involved, Defendants denied Plaintiffs Alison Helen
21     Fairchild and Arogant Hollywood reasonable accommodation or to make and enforce contacts with
a2     Studio Lodge Hotel, and by doing all the above, Defendants Carasso Family Trust and Studio LodgE
23     Hotel violated Plaintiffs Arogant Hollywood and Alison Helen Fairchild's civil rights
24     pursuant to 42 U.S.C.S. § 1985(3), and all of evil, cruel, malicious, and discriminatory acts were
25     done solely, and specifically based on Plaintiff Hollywood's race and Plaintiff Fairchild's disability.
26

2~    292.     Each act done in pursuance of the conspiracy by one of several conspirators is, in
28    contemplation of law, an act for which each is jointly and severally liable, and this liability applies
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 76 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 77 of 100 Page ID #:77




     to damages accruing prior to the person's joining the conspiracy or thereafter and regardless of
      whether the person took a prominent or an inconspicuous part in the execution ofthe conspiracy.
     (Am. Jur. 2d Conspiracy §§ 70, 71).


     293.      A civil conspiracy is a combination oftwo or more persons by some concerted action to
     accomplish some criminal or unlawful purpose, or to accomplish some purpose not in itself criminal
     or unlawful by criminal or unlawful means. The conspiratorial agreement need not be in any
     particular form, and need not extend to all the details ofthe conspiratorial scheme, so long as its
     primary purpose is to cause injury to another/Plaintiff Arogant Hollywood. The gist of a civil
io   conspiracy is not the unlawful agreement, but the damage resulting from that agreement and its
ii   execution. The cause of the action is not created by the conspiracy, but by the wrongful acts done by
is   the Defendants Carasso Family Trust and Studio Lodge Hotel. to the injury ofPlaintiffs Arogant
13   Hollywood and Alison Helen Fairchild.(Am. Jur. Pleading and Practice Forms, Conspiracy § 7).
14

15   294.      A conspiracy may be proved by circumstantial evidence. This is because people who engage
16    in such agreements may not voluntarily proclaim to others their purpose, therefore, a reasonable
i~    person/mind may draw on circumstantial evidence to determine whether or not a conspiracy did
18    exist.
19

Zo   295.       A conspiracy may be established by interference from the nature ofthe acts complained of;
ai   the individual and collective interests of the alleged conspirators, the situation and relation of the
22    parties at the time ofthe commission of the acts, the motives that produced them, and all of the
23    surrounding circumstances preceding and attending the culmination of the common plan or design.
24   (Am. Jur. Pleading and Practice Forms, Conspiracy § 8).
25

26   296.      The Defendants, each and every one of them, acquired, possessed, and maintained a general
z~    knowledge ofthe conspiracy's objectives to inflict wrongs against and/or injury on Plaintiffs
28    Arogant Hollywood and Alison Helen Fairchild as described in this Complaint.
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
      -Page 77 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 78 of 100 Page ID #:78




 1

 z     297.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild aver that Defendants Carasso
 3     Family Trust and Studio Lodge Hotel combined to engage in a scheme which was intended to
 4     violate the law and concealed and secreted same.
 5

 6     298.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild aver that Defendants Carasso
       Family Trust and Studio Lodge Hotel combined to engage in a scheme which was intended to
 8

 9     violate the right of Plaintiff Arogant Hollywood.
10

ii     299.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild avers that Defendants Carasso
12     Family Trust and Studio Lodge Hotel combined to engage in a scheme which was intended to
13     violate the rights of the publio-at-large.
14

15     300.    The facts, evidence and legal conclusion set forth in this instant Complaint supports that
16     Defendants(which consist oftwo or more persons):(a)engaged in conspiracy(ies) leveled against
i~     Plaintiffs Arogant Hollywood and Alison Helen Fairchild;(b)engaged in conspiracy(ies) to deter,
18     intimidate, and threaten Plaintiffs Arogant Hollywood and Alison Helen Fairchild from engaging in
19     protected activities (ie., making and enforcing contracts, making charges/filing lawsuits. Testifying,
20     assisting or participating in enforcement proceedings) and performing duties owed as a citizen to
21     report matters of public policy and/or public interest; and(c)engaged in conspiracy(ies) which
za     resulted in injury/harm to Plaintiffs Arogant Hollywood and Alison Helen Fairchild. Malley-Duff&
23    Assoc. v. Crown Life Ins. Co., 792 F.2D 341 (3'd Cir. 198 judgment affirmed 483 U.S. 143 (1987);
24     Chahal v. Paine Webber, 725 F.2d 20 (2nd Cir 1984).
25

26    301.     Although it is true that a corporation cannot conspire with itself, a conspiracy may be
a~     established where individual defendants are named and those defendants acted outside the scope of
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 78 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 79 of 100 Page ID #:79




       their employment for personal reasons. Swann v. City ofDallas, 922 F.Supp. 1184 (N.D. Texas

       1996)(citing Garza v. City of Omaha, 814 F.2d 553, 556(8t'' Cir. 1987)), affd, 131 F.3d 140(St''
       Cir. 1997). The facts, evidence and legal conclusion contained in this instant Complaint will support

       that Defendants Carasso Family Trust and Studio Lodge Hotel acted both within and outside the
       scope of their employment for personal reasons and bias towards Plaintiffs Arogant Hollywood and

       Alison Helen Fairchild. Moreover, said conspiracy(ies) was/were inspired and motivated by
       Defendants' engagement in systematic racial bias, discriminatory and retaliatory practices against

       Plaintiff Arogant Hollywood because of his race (African-American/black), against Plaintiff Alison

       Helen Fairchild because of her disability, knowledge of their engagement in protected activities, and

io     systematic discriminatory practices —discrimination, retaliation, and harassment—as well as a
i1     conspiracy based on Defendants' knowledge of Plaintiffs Arogant Hollywood and Alison Helen
iz     Fairchild's engagement in protected activities (i.e., discrimination for making charges/filing

13     lawsuits, filing complaints with city and county agencies, testifying, assisting, or participating in

14     litigation/proceedings), thereby conspiring to deprive Plaintiffs Arogant Hollywood and Alison
15     Helen Fairchild rights secured and guaranteed under the Constitution and other laws of the United
16     States.
17

18    302.       In doing the acts alleged, Defendants also acted in their official capacities in regards to

19     Studio Lodge Hotel by threatening to use force to remove both Plaintiffs.
20

21    303.       For these reasons, the Defendants are liable for violation of42 U.S.C. § 1985.
22

23    304.       Each Defendant conspirator is jointly and severally liable for all damages resulting from the

24    conspiracy, and where that conspiracy is proven, any act done by any one of the two or more

25    persons so conspiring, in furtherance ofthe common design and in accordance with the general pla
26    becomes the act of all, and each conspirator is responsible for such act. It is not necessary, in order
2~    to establish the liability of a participant in an unlawful conspiracy, to show that such person was a
28    party to its contrivance at its inception. In other words, a conspiracy may start with a few
      Verired Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IiED
      -Page 79 of ]44
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 80 of 100 Page ID #:80




       participants and then add others as it progresses. If so, the conspirator who becomes a part of the
       conspiracy at or near the end is just as responsible for the damage that results as the one who was in
       it at the beginning. The actual time when any ofthem might have come into understanding makes
       no difference. Therefore, when it is shown that the individual who came in at a later date knew of
       the unlawful design and willfully aided in its execution, such individual is chargeable with the
       consequences that flowed from the unlawful design.


       305.    WHEREFORE,Plaintiffs Arogant Hollywood and Alison Helen Fairchild demands
       judgment against Defendants Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive,
io     on the eleventh cause of action of the Plaintiffs' complaint in the amount that will justly compensate
ii     both Plaintiffs for their damages, together with costs and attorneys' fees in this action.
12

13     TWELFTH CAUSE OF ACTION---VIOLATION OF 42 USC & 1986(NEGLECT TO
14     PREVENT DEPRIVATION OF RIGHTS)ALLEGED BY PLAINTIFFS AROGANT
15     HOLLYWOOD & ALISON HELEN FAIRCHILD AS AGAINST DEFENDANTS CA
16     FAMILY TRUST,STUDIO LODGE HOTEL,&DOES 1-20,INCLUSIVE.
17

18     306.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild re-allege and incorporate by
19     reference paragraphs 1-305.
20

21     307.    At all relevant times stated in this lawsuit Arogant Hollywood and Alison Helen Fairchild
za     were paying residential tenants of STUDIO LODGE HOTEL and both Plaintiffs were current on
23     their rent every single week, and never submitted a late rental payment whatsoever.
24

25     308.    At all relevant times, Defendants' location 11254 Vanowen Street, Los Angeles, California
26     general manager, supervisors and employees were employed by Carasso Family Trust and Studio
2~    Lodge Hotel, and were fully involved with the interest of having Plaintiffs Alison Helen Fairchild
28     and Arogant Hollywood discriminated against and removed from its premises permanently.
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990[42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 80 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 81 of 100 Page ID #:81




 1

 z     309.      This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
 3     Hotel., pursuant to its intentional and willful violations of Plaintiffs' civil rights under 42 USC §
 4     1986.
 5

 6

       310.     Plaintiffs Alison Helen Fairchild and Arogant Hollywood aver that 42 U.S.C. § 1986 creates
 8     a cause of action for the failure to prevent a conspiracy within the meaning of42 U.S.C. § 1985:
 9              Every person who, having knowledge that any of the wrongs conspired to be done, and
to              mentioned in [42 U.S.C. § 1985], are about to be committed, and having power to prevent or
ii              aid in preventing the commission of the same, neglects or refuses to do so, if such wrongful
is              act be committed, shall be liable to the party injured, or his legal representatives, for all
13              damages caused by such wrongful act, which such person by reasonable diligence could havf
14              prevented.
15     An essential element of a claim under 42 U.S.C. § 1986 is the existence of a § 1985(3) claim.
16     Williams v. St. Joseph Hospital, 629 F.2d 448, 451-452(7th Cir. 1980).
17

is     311.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild aver that Defendants Carasso
19     Family Trust and Studio Lodge Hotel did, in violation of42 U.S.C. § 1986, with knowledge ofthe
20     wrongs conspired to be done at the request and instruction of one or more of the Defendants, were
21     about to be committed, and having power to prevent or aid in preventing the commission of same,
za     neglected or refused to do so, to wit: neglecting or refusing to prevent, with knowledge of a
23     conspiracy to deprive, either directly or indirectly, Plaintiffs Arogant Hollywood as a member of the
24     African-American/black class of persons, Alison Helen Fairchild as a member of the
25     disabled/handicapped person of the equal protection of the laws, and of the equal privileges and
26     immunities under the laws.
27

28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 81 of l44
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 82 of 100 Page ID #:82




       312.     Defendants Carasso Family Trust and Studio Lodge Hotel and several employees of the
       Studio Lodge Hotel conspired to violate Plaintiffs Arogant Hollywood and Alison Helen Fairchild's
       civil rights by refusing to rent to both Plaintiffs, failing to place Plaintiff Alison Helen Fairchild in a
       handicapped room, and by conspiring to forcefully remove by Plaintiffs from their residential hotel
       room on February 17th 2017.


       313.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild aver that Defendants Carasso
       Family Trust and Studio Lodge Hotel, and each ofthem, had knowledge ofthe § 1985
       conspiracy(ies), the power to protect Plaintiffs Arogant Hollywood and Alison Helen Fairchild, and
io     neglected or refused to protect Plaintiffs, and because ofthis Defendants Carasso Family Trust and
ii     Studio Lodge Hotel, and each ofthem, are liable under § 1986. Further, at least one or more of
is     Studio Lodge Hotel Defendants were bystanders who many not themselves have been conspirators
13     under § 1985, yet remain liable under § 1986. After all, those with knowledge ofthe underlying
14     conspiracy puts them in the optimal position to prevent it. A negligent failure to protect by an actor
15     with knowledge of a § 1985 conspiracy and power to protect its victims is actionable. See Clark v.
16     Clabaugh, 20 F.3d 1290, 1298(3d Cir. 1994) finding that negligence is sufficient to maintain ~
i~     1986).
18

19     314.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild aver that at least one or more of
20     the Defendants could have stopped the conspiracy he or she was part of to violate Plaintiffs' civil
21     rights on at least one, if not more, occasion. Plaintiffs Arogant Hollywood and Alison Helen
2z     Fairchild aver that the facts, evidence and legal conclusions alleged in this Complaint demonstrate
23     that at least one or more of Carasso Family Trust and Studio Lodge Hotel Defendants had actual
24     knowledge ofthe § 1985 conspiracy, that at least one or more of Defendants had the power to
25     prevent or aid in preventing the commission ofthe § 1985 violations, that at least one or more of
26     Defendants neglected or refused to prevent the § 1985 conspiracy, and that one or more wrongful
2~     acts) was committed by the conspirators.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 82 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 83 of 100 Page ID #:83




 i     315.     For these reasons, each Defendants Carasso Family Trust and Studio Lodge Hotel are liable
 a     under 42 U.S.C. § 1986 for all damages that he or she could have prevented with reasonable
 3     diligence. Clark v. Clabaugh, 20 F.3d at 1298.
 4

 5

 6     316.    WHEREFORE,Plaintiffs Arogant Hollywood and Alison Helen Fairchild demands
       judgment against Defendants Carasso Family Trust and Studio Lodge Hotel on the twelfth cause of
 8     action ofthe Plaintiffs' complaint in the amount that will justly compensate both Plaintiffs for their
 9     damages, together with costs and attorneys' fees in this action.
10

ii     THIRTEENTH CAUSE OF ACTION--- VIOLATION OF CALIFORNIA CIVIL CODE OF
12     PROCEDURE & 1159, 11254 VANOWEN STREET,LOS ANGELES,CALIFORNIA,
13     ALLEGED BY PLAINTIFFS AROGANT HOLLYWOOD & ALISON HELEN FAIRCHILD
14     AS AGAINST DEFENDANTS CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &
15     DOES 1-20,INCLUSIVE.
16

i~     317.    Plaintiffs Arogant Hollywood and Alison Helen Fairchild re-allege and incorporate by
18     reference paragraphs 1-316.
19

20     318.    At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
21     tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
22     submitted a late rental payment whatsoever.
23

24     319.    At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
25     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
26     late rental payment whatsoever.
27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
       -Page 83 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 84 of 100 Page ID #:84




       320.     At all relevant times, Defendants location 11254 Vanowen Street, general manager,

       supervisors and employees were employed by Carasso Family Trust and Studio Lodge Hotel and
       were fully involved with the interest of having Plaintiffs Alison Helen Fairchild and Arogant
       Hollywood discriminated against and removed from its premises permanently.



       321.     At all relevant times Defendants' STUDIO LODGE HOTEL'S general manager, supervisors

       and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
       involved with unlawful entry of Arogant Hollywood and Alison Helen Fairchild's residential hotel
       room by forcefully entering their residential hotel room, using law enforcement personnel to prevent

io     them from reentering their room, and removing both Plaintiffs' personal belongings from their room
ii     without either plaintiff's consent.
12

13     322.    At all relevant times, Defendants Carasso Family Trust and Studio Lodge Hotel were the so:

14     owners ofSTUDIO LODGE HOTEL,and at all relevant times stated throughout this lawsuit
15    Defendants Carasso Family Trust and Studio Lodge Hotel were responsible for the management,

16     guidance and leadership of subject location 11254 Vanowen Street, Los Angeles, California, stated
i~     above and throughout this lawsuit.

is

19    323.     This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
ao    Hotel due to its intentional and willful violations of California Civil Code ofProcedure § 1159.

21

22    324.     California Health and Safety Code § 50519(b)(1) states: "Residential hotel" means any

23    building containing six or more guestrooms or efficiency units, as defined by Section 17958.1,

24    intended or designed to be used, or which are used, rented, or hired out, to be occupied, or which a

25    occupied, for sleeping purposes by guests, which is also the primary residence of those guests, but

26    does not mean any building containing six or more guestrooms or efficiency units, as defined by

z~    Section 17958.1, which is primarily used by transient guests who do not occupy that building as
2s    their primary residence.
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et,
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7,52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      TIED
      -Page 84 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 85 of 100 Page ID #:85




 1

z    325.    Defendants' Studio Lodge Hotel contains more than six guestrooms. These guestrooms are

 3   the used, rented, or hired out, to be occupied, for the sleeping purposes by guests. Nearly 60% of

 4   Studio Lodge Hotel guests are residential tenants. Many of Studio Lodge Hotel's tenants have lived

 5

 6   in the very same residential hotel room for well over a year. Nearly 60% of Studio Lodge Hotel
     residential guests and tenants that have no other physical residence, and Studio Lodge Hotel is in

 e   fact these residential hotel guests/tenants' only primary residence. Many of Studio Lodge Hotel's

 9   tenants were homeless upon moving in because of an eviction or foreclosure from their former
io   primary residence. Therefore, the Studio Lodge Hotel qualifies as a residential hotel as defined by

ii   California Health &Safety Code § 50519(b)(1)
12

13   326.     California Civil Code § 1940.1(a) states: No person may require an occupant of a residential

14   hotel. As defined in Section 50519 of the Health and Safety Code, to move, or to check out and
15   reregister, before the expiration of 30 days' occupancy if a purpose is to have that occupant maintain
16   transient occupancy status pursuant to paragraph(1)of subdivision(b)of Section 1940. Evidence

i~   that an occupant was required to check out and reregister shall create a rebuttable presumption,

18   which shall affect solely the burden of producing evidence, ofthe purpose referred to in this

19   subdivision. California Civil Code § 1940.1(b) states: In addition to any remedies provided by local
20   ordinance, any violation of subdivision (a) is punishable by a civil penalty of five hundred($ 500).

21   In any action brought pursuant to this section, the prevailing party shall be entitled to reasonable

2a   attorney's fees.

23

24   327.     California Landlord-Tenant Practice 2°d Edition, Updated on April 15th 2015. Chapter 8

25   states the following: § 8.142 b. Kinds of Occupants Protected:

26   An occupant of real property who is forcibly evicted by the owner may invoke the protection of

z~   CCP §§ 1159 and 1160(see §§8.139-8.141), whether the occupant is a tenant, an employee, or a

2a
     Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
     1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
     seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
     Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
     IIED
     -Page 85 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 86 of 100 Page ID #:86




       licensee. Eichhorn v. De La Cantera (1953) 117 CA2d S0. It appears that even the legal tenant's
       spouse may bring the action if the spouse was in possession at the time ofthe eviction. 117 CA2d at
       52.




       Lodgers, boarders, and tenants in certain residential hotels are protected from "self-help" evictions
       by CCP §1159, which defines the party in possession as "any person who hires real property and
       includes a boarder or lodger, except those persons whose occupancy is described in [CC § 1940(b)
       exempts a person who either(a) maintains transient occupancy, in a hotel, time-share, or other
io     facility, subject to the hotel tax under Rev & TC §7280, or(b) has not made valid payment for all
ii     room and other related charges owing as ofthe last day on which the occupancy is or would be
iz     subject to that tax, or who(c) maintains occupancy in a hotel where the management retains a right
13     to enter and control the rooms, and offers all the following services to every resident: facilities for
14     safeguarding personal property, central telephone service, maid, mail, and room services, occupancy
15     for fewer than 7 days, and food service meeting specified requirements. Landlords may use the
16     unlawful detainer procedure to evict the protected categories oftenants, lodgers, boarders, and
i~     residential hotel tenants. "Tenant" for this purpose is defined as "any person who hires real property
18     except those person occupancy is described in[CC §1940(b)]." CCP §1161.
19     The tenant's breach of the lease or rental agreement does not justify the landlord's use of"self-help"
20     and is no defense to an action for forcible entry or detainer. This rule applies regardless of the nature
21     ofthe tenant's breach. For example, tenants' lawsuits have been upheld when the tenant's breach
z2     involved nonpayment of rent(Jordan v. Talbot, supra), an unauthorized assignment ofthe lease
23    (Kassan v. Stout, supra), and changing the locks(Eichhorn v. De La Canters(1953) 117 CA2d 50)
24

25    328.     According to the Continuing Education ofthe Bar's California Eviction Defense Manual, 2nd
26    Edition, updated in June 2014, Chapter 3, and Section VIII, the following is stated:
z~    §3.11             VIII. SELF-HELP EVICTIONS OF HOTEL GUESTS
28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 86 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 87 of 100 Page ID #:87




       Hotels may use self-help to evict guests who do not leave on the agreed date by the agreed time,
       under the following conditions. The guest must have been provided with, and signed, written notice
       at the time the accommodations were provided, that the innkeeper needed the room by that date and
       time to accommodate an arriving guest with a contractual right to the room. This must in fact be
       true, e.g., that the exact room which the guest occupies is contractually owed to a new guest's room,
       take possession of the guest's property, rekey the door, and make the room available to the arriving
       guest. CC §1865. Subsection (a)of CC §1865 specifically excludes "any residential hotel as defined
       in Section 50519 ofthe Health and Safety Code."


io     329.     In Rutter's Group Law book the California Practice Guide Landlord-Tenant, Updated in
ii     2014, Chapter 7 the following is stated: [7.6.2] Limitation----no forced checkout and reregistration
12     to trigger "transient status: However, proprietors of"residential hotels"(as defined in Health and
13     Saf.C. § 50519) may not require occupants to move, or to check out and reregister, before the
14     expiration of 30 days occupancy for the purpose of maintaining the occupant's transient(lodger)
15     occupancy status under § 1940(b)(1). Evidence that an occupant was required to check out and
16     reregister creates a rebuttable presumption affection the burden of producing evidence that the
i~     proprietor in fact was acting for the prohibited purpose of maintaining the occupant's transient
is     occupancy status.[CC § 1940.1(a)&(b)
19    (A "residential hotel" is any building containing six or more guestrooms or efficiency units as
ao     defined by Health and Saf.C, § 17958.1, intended or designed to be used, or which are used, rented
zi     or hired out, to be occupied, or which are occupied, for sleeping purposes by guests, which is also
22     the primary residence of those guests. See Health & Saf.C. § 50519 (b)(1).
23

24     330.     According to 7-210 California Real Estate Law &Practice§ 210.10A (2015), the following is
25     stated: No person may require an occupant to move, or to check out and reregister, before the
26     expiration of 30 days occupancy if a purpose is to have that occupant maintain transient occupancy
2~     status pursuant to Cal Civ Code § 1940(b)(1) and thus of unlawful detainer.
28
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of I,
       1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et''
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 87 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 88 of 100 Page ID #:88




       331.     On February 17th 2017 both plaintiffs were in actual and peaceable possession of the
       premises located at: 11254 Vanowen Street, in the City of Los Angeles, County of Los Angeles.
      ["The premises"].



       332.     On or about that date, and without Plaintiffs' consent, Defendants Carasso Family Trust and

       Studio Lodge Hotel, forcibly entered the premises by the following means: By unlocking the
       plaintiffs' door without their consent and removing 100% of their personal belongings. By
       precluding the removal of the Plaintiffs' property, by placing a locking mechanism on their front

       door knob to prevent the plaintiffs from re-entering their own residential hotel room. By
io     manipulating and deceiving Los Angeles police department peace officers so that officers would
ii     assist them in using forceful self-help tactics to prevent both Plaintiffs from re-entering their
12     residential hotel room or remaining on the STUDIO LODGE HOTEL real properly for any period

13     oftime without being arrested for trespassing.
14

15     333.    Defendants Carasso Family Trust and Studio Lodge Hotel took possession of the premises,
16     and have continued in possession to the date that this complaint was filed, without either plaintiffs'
i~     consent.

is

19    334.     At all relevant times, the reasonable value of use ofthe premises has been $ 5,000 per day
20    Damages have accrued at that rate, and will continue to accrue from the date ofthe forcible entry,

21     until possession is returned to both plaintiffs.

22

23    335.     As a proximate result of Defendants' acts, Plaintiffs Arogant Hollywood and Alison Helen

24    Fairchild have suffered mental distress, discomfort, and annoyance. Damages in the amount to be

25    determined at the time of trial, are being sought for forceful entry.
26

a~    336.      Defendants Carasso Family Trust and Studio Lodge Hotel. actions were committed

2a    intentionally, with full knowledge that defendants were forcibly entering and dispossessing
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1, 42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ ll59 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
      -Page 88 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 89 of 100 Page ID #:89




       plaintiffs. Therefore, Defendants' acts were committed with malice, and the damages alleged in

       paragraphs 317 through 335 should be supplemented by statutory damages under Code of Civ.
       Proc. C.§ 1174(b).



       337.     Defendants Carasso Family Trust and Studio Lodge Hotel violated Civ. Proc. C.§ 1159 by

       breaking into the plaintiffs' residential hotel room without permission from a superior court. A
       landlord's reentry is unlawful if it is forcible. Forcible entry is any entry that is not permitted by the

       tenant. No damage or actual violence is required. Right ofre-entry is not a defense to an action for
       forcible entry. If a tenant is in peaceable actual possession, adefendant-landlord cannot assert a

io     right of reentry that is provided for in a lease until he has gone through the judicial process. Any

ii     lease allowing for forcible entry would be void as contrary to public policy. The defendants' right of
12     re-entry is not a defense to an action for forcible entry. Absent a voluntary surrender by the tenant, a

13     landlord can only enforce his right of re-entry through the judicial process. See Jordan v. Talbot

14    (1961) SS C2d 597, 603. Defendants Carasso Family Trust and Studio Lodge Hotel violated Civ.
15     Proc. C.§ 1159 when they removed the both plaintiffs' personal belongings and when Studio
16     Lodge Hotel general manager contacted Los Angeles police department in order to request peace

i~     officers assist in its forceful entry of both Plaintiffs.

18

19     338.     WHEREFORE,Plaintiffs Arogant Hollywood and Alison Helen Fairchild demands

20    judgment against Defendants Carasso Family Trust, Studio Lodge Hotel and DOES 1-20, Inclusive,

21     on the thirteenth cause of action of the Plaintiffs' complaint in the amount that will justly

z2     compensate both Plaintiffs for their damages, together with costs and attorneys' fees in this action.
23

24     FOURTEENTH CAUSE OF ACTION--- VIOLATION OF CALIFORNIA CIVIL CODE OF

25     PROCEDURE ~ 1160, 11254 VANOWEN STREET,LOS ANGELES,CALIFORNIA,

26     ALLEGED BY PLAINTIFFS AROGANT HOLLYWOOD & ALISON HELEN FAIRCHILD

27     AS AGAINST DEFENDANTS CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &

as     DOES 1-20,INCLUSIVE(FORCIBLE DETAINER EXECUTED BY DEFENDANTS.
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
       IIED
       -Page 89 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 90 of 100 Page ID #:90




       339.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild re-allege and incorporate by
       reference paragraphs 1-338.


       340.     At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
       tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
       submitted a late rental payment whatsoever.


       341.    At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
io     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
ii     late rental payment whatsoever.
12

13     342.    At all relevant times, Defendants location 11254 Vanowen Street, general manager,
14     supervisors and employees were employed by Carasso Family Trust and Studio Lodge Hotel, and
15     were fully involved with the interest of having Plaintiffs Alison Helen Fairchild and Arogant
16     Hollywood discriminated against and removed from its premises permanently.
17

18     343.    At all relevant times, Defendants' STUDIO LODGE HOTEL'S general manager, supervisor
19     and employees were employed by Carasso Family Trust and Studio Lodge Hotel and were fully
20     involved with unlawful entry of Arogant Hollywood and Alison Helen Fairchild's residential hotel
21     room by forcefully entering their residential hotel room, using law enforcement personnel to prevent
zz     them from reentering their room, and removing both Plaintiffs' personal belongings from
23    their room without either plaintiff's consent.
24

25    344.     This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
26    Hotel due to its intentional and willful violations of California Civil Code ofProcedure § 1160.
27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 90 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 91 of 100 Page ID #:91




       345.     California Health and Safety Code § 50519(b)(1)states: "Residential hotel" means any
       building containing six or more guestrooms or efficiency units, as defined by Section 17958.1,
       intended or designed to be used, or which are used, rented, or hired out, to be occupied, or which a
       occupied, for sleeping purposes by guests, which is also the primary residence of those guests, but
       does not mean any building containing six or more guestrooms or efficiency units, as defined by
       Section 17958.1, which is primarily used by transient guests who do not occupy that building as
       their primary residence.


       346.    Defendants' Studio Lodge Hotel contains more than six guestrooms. These guestrooms are
io     the used, rented, or hired out, to be occupied, for the sleeping purposes by guests. Nearly 60% of
ii     Studio Lodge Hotel's guests are residential tenants. Many of Studio Lodge Hotel's tenants have
is     lived in the very same residential hotel room for well over a year. Nearly 60% of Studio Lodge
13     Hotel's residential guests and tenants that have no other physical residence, and Studio Lodge Hotei
14     is in fact these residential hotel guests/tenants' only primary residence. Many of Studio Lodge
15     Hotel's tenants were homeless upon moving in because of an eviction or foreclosure from their
16     former primary residence. Therefore, the Studio Lodge Hotel qualifies as a residential hotel as
i~     defined by California Health &Safety Code § 50519(b)(1).
18

19     347.    California Civil Code § 1940.1(a) states: No person may require an occupant of a residential
20     hotel. As defined in Section 50519 ofthe Health and Safety Code, to move, or to check out and
ai     reregister, before the expiration of 30 days' occupancy if a purpose is to have that occupant maintain
Za     transient occupancy status pursuant to paragraph (1) of subdivision(b)of Section 1940. Evidence
23    that an occupant was required to check out and reregister shall create a rebuttable presumption,
24     which shall affect solely the burden of producing evidence, ofthe purpose referred to in this
25     subdivision. California Civil Code § 1940.1(b) states: In addition to any remedies provided by local
26     ordinance, any violation of subdivision (a) is punishable by a civil penalty offive hundred($ 500).
a~    In any action brought pursuant to this section, the prevailing party shall be entitled to reasonable
28    attorney's fees.
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      LIED
      -Page 91 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 92 of 100 Page ID #:92




       348.     California Landlord-Tenant Practice 2"d Edition, Updated on April 15t"2015. Chapter 8
       states the following: § 8.142 b. Kinds of Occupants Protected:
       An occupant of real property who is forcibly evicted by the owner may invoke the protection of
       CCP §§ 1159 and 1160(see §§8.139-8.141), whether the occupant is a tenant, an employee, or a
       licensee. Eichhorn v. De La Cantera (1953) 117 CA2d 50. It appears that even the legal tenant's
       spouse may bring the action if the spouse was in possession at the time ofthe eviction. 117 CA2d at
       52.
       Lodgers, boarders, and tenants in certain residential hotels are protected from "self-help" evictions
io     by CCP §1159, which defines the party in possession as "any person who hires real property and
ii     includes a boarder or lodger, except those persons whose occupancy is described in[CC § 1940(b)
12     exempts a person who either(a) maintains transient occupancy, in a hotel, time-share, or other
13     facility, subject to the hotel tax under Rev & TC §7280, or(b)has not made valid payment for all
14     room and other related charges owing as of the last day on which the occupancy is or would be
15     subject to that tax, or who(c) maintains occupancy in a hotel where the management retains a right
16     to enter and control the rooms, and offers all the following services to every resident: facilities for
l~     safeguarding personal property, central telephone service, maid, mail, and room services, occupancy
18     for fewer than 7 days, and food service meeting specified requirements. Landlords may use the
19     unlawful detainer procedure to evict the protected categories oftenants, lodgers, boarders, and
ao     residential hotel tenants. "Tenant" for this purpose is defined as "any person who hires real property
zl     except those person occupancy is described in[CC §1940(b)]." CCP §1161.
2z     The tenant's breach ofthe lease or rental agreement does not justify the landlord's use of"self-help"
23     and is no defense to an action for forcible entry or detainer. This rule applies regardless ofthe nature)
24     ofthe tenant's breach. For example, tenants' lawsuits have been upheld when the tenant's breach
25     involved nonpayment of rent(Jordan v. Talbot, supra), an unauthorized assignment of the lease
26    (Kassan v. Stout, supra), and changing the locks (Eichhorn v. De La Cantera(1953) 117 CA2d 50)
27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ S1.7, 52.1,42 U.S.C.§ 1981, 1985, & 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 92 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 93 of 100 Page ID #:93




       349.     According to the Continuing Education of the Bar's California Eviction Defense Manual, 2"a

       Edition, /updated in June 2014, Chapter 3, and Section VIII, the following is stated:

       §3.11              VIII. SELF-HELP EVICTIONS OF HOTEL GUESTS

       Hotels may use self-help to evict guests who do not leave on the agreed date by the agreed time,
       under the following conditions. The guest must have been provided with, and signed, written notice

       at the time the accommodations were provided, that the innkeeper needed the room by that date and

       time to accommodate an arriving guest with a contractual right to the room. This must in fact be

       true, e.g., that the exact room which the guest occupies is contractually owed to a new guest's room,

       take possession ofthe guest's property, rekey the door, and make the room available to the arriving
to     guest. CC §1865. Subsection(a) of CC §1865 specifically excludes "any residential hotel as defined
li     in Section 50519 of the Health and Safety Code."

12

13     350.     In Rutter's Group Law book the California Practice Guide Landlord-Tenant, updated in

14     2014, Chapter 7 the following is stated: [7.6.2] Limitation----no forced checkout and reregistration

15     to trigger "transient status: However, proprietors of"residential hotels"(as defined in Health and
16     Saf. C. § 50519) may not require occupants to move, or to check out and reregister, before the
i~     expiration of 30 days occupancy for the purpose of maintaining the occupant's transient(lodger)

18     occupancy status under § 1940(b)(1). Evidence that an occupant was required to check out and

19     reregister creates a rebuttable presumption affection the burden of producing evidence that the

20     proprietor in fact was acting for the prohibited purpose of maintaining the occupant's transient

21     occupancy status.[CC § 1940.1(a)&(b)

as (A "residential hotel" is any building containing six or more guestrooms or efficiency units as
23     defined by Health and Saf.C, § 17958.1, intended or designed to be used, or which are used, rented

29     or hired out, to be occupied, or which are occupied, for sleeping purposes by guests, which is also

25     the primary residence of those guests. See Health & Saf.C. § 50519(b)(1).

26

a~     351.     On February 17`h 2017, without Plaintiffs' consent, Defendants Carasso Family Trust and

2s     Studio Lodge Hotel entered and took possession ofthe premises.
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
       11ED
       -Page 93 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 94 of 100 Page ID #:94




       352.     Defendants Carasso Family Trust and Studio Lodge Hotel forcibly prevented Plaintiffs from
       regaining possession of the premises by the following means: Removing 100% of their personal
       belongings from their residential hotel room, and contacting the Los Angeles police department to
       prevent re-entry, and deny both Plaintiffs lawful possession of said premises and their personal
       property. Defendants Carasso Family Trust and Studio Lodge Hotel's actions resulted in Alison
       Fairchild having a multiple sclerosis relapse attack on her frail body due to the stress caused by
       Defendants since January 27t"2017. The pain and suffering that Alison Helen Fairchild endured,
io     will result in damages of$ 900,000.
1i
Zz     353.     Defendants Carasso Family Trust and Studio Lodge Hotel have continued in possession of
13     the premises to the date on which this complaint was filed, without Plaintiffs' consent.
14

15     354.    Defendants' actions were committed intentionally, with full knowledge that Defendants were
16     forcibly entering and dispossessing Plaintiffs. Therefore, Defendants' acts were committed with
i~     malice, and the damages incurred by Plaintiff should be supplemented by statutory damages under
is     Code of Civil Procedure § 1174(b)
19

zo     355.    WHEREFORE,Plaintiffs Arogant Hollywood and Alison Helen Fairchild demands
21    judgment against Defendants Carasso Family Trust and Studio Lodge Hotel on the fifteenth cause c
a2     action ofthe Plaintiffs' complaint in the amount that will justly compensate both Plaintiffs for their
23     damages, together with costs and attorneys' fees in this action.
24

25    SIXTEENTH-CAUSE OF ACTION---CIVIL CONSPIRACY-- ALLEGED BY PLAINTIFFS
26     AROGANT HOLLYWOOD & ALISON HELEN FAIRCHILD AS AGAINST
a~    DEFENDANTS CARASSO FAMILY TRUST,STUDIO LODGE HOTEL &DOES 1-20,
28    INCLUSIVE
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent LIED, Negligent
      IIED
      -Page 94 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 95 of 100 Page ID #:95




       356.     Plaintiffs Arogant Hollywood and Alison Helen Fairchild re-allege and incorporate by
       reference paragraphs 1-355.


       357.     At all relevant times stated in this lawsuit Alison Helen Fairchild was a paying residential
       tenant of STUDIO LODGE HOTEL that was current on her rent every single week, and never
       submitted a late rental payment whatsoever.


       358.     At all relevant times stated in this lawsuit Arogant Hollywood was a paying residential
io     of STUDIO LODGE HOTEL that was current on his rent every single week, and never submitted a
ii     late rental payment whatsoever.
12

13     359.     At all relevant times, Defendants location 11254 Vanowen Street, general manager,
14     supervisors and employees were employed by Carasso Family Trust and Studio Lodge Hotel, and
i5     were fully involved with the interest of having Plaintiffs Alison Helen Fairchild and Arogant
16     Hollywood discriminated against and removed from its premises permanently.
17

18     360.     This cause of action is brought against Defendants Carasso Family Trust and Studio Lodge
19     Hotel, due to its intentional and willful violations ofPlaintiffs' civil rights.
20

21     361.     The elements of a civil conspiracy in the state of California are(1)the formation and
22     operation ofthe conspiracy;(2)the wrongful act or acts done pursuant thereto, and (3)the damage
23     resulting. See Mosier v. Southern California Physicians Insurance Exchange (1998)63 Cal.App.4`h
24     1022, 1048[74 Cal.Rptr.2d SSOJ
25

26     362. "[T]he major significance ofthe conspiracy lies in the fact that it renders each participant in
a~     the wrongful act responsible as a joint tortfeasor for all damages ensuing from the wrong,
28     irrespective of whether or not he was a direct actor or regardless ofthe degree of his activity. See
       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 [42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
      -Page 95 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 96 of 100 Page ID #:96




 1

 z     Applied Equipment Corp., supra, 7 Cal. 4`h at p. 511.
 3

 4     363. "The basis of a civil conspiracy is the formation of a group oftwo or more persons who have
 5     agreed to a common plan or design to commit a tortious act. The conspiring defendants must also
 6     have actual knowledge that a tort is planned and concur in the tortious scheme with knowledge of its

       unlawful purpose." Kidron v. Movie Acquisition Corp. (1995) 40 Cal. App. 4`h 1571, 1582[47 Cal.
 s     Rptr. 2d 752J.

 9

io     364.    A civil conspiracy is a combination oftwo or more persons to accomplish by concerted
it     action a criminal or unlawful purpose or a lawful purpose by criminal or unlawful means. See
is     Parkinson Co. v. Building Trades Council(1908) 154 Cal. 581, 593, 98 P. 1027; Peskin v. Squires

13    (1957) 156 Cal. App. 2d 240, 246, 319 P.2d 405J

14

15     365.    It is a legal commonplace that the existence of a conspiracy may be inferred from
16     circumstances, and that the conspiracy need not be the result of an express agreement but may rest
i~     upon tacit assent and acquiescence. See Holder v. Home Savings &Loam Assn. ofLos Angeles

18   (1968) 267 Cal. App. 2d 91, 108[72 Cal. Rptr. 704J, Wyatt v. Union Mortgage Co. (1979) 24 Cal.

19     3d 773, 785, 786, 157 Cal. Rptr. 392, 598 P.2d 45.

20

z1     366.    The agreement of defendants to conspire need not be proved by direct evidence but may be
as     shown by circumstantial evidence that tends to show a common intent. See Peterson v. Cruickshank

23   (1956) 144 Cal. App. 2d 148, 163, 300 P.2d 91S.
24

25     367.    Civil conspiracy in and of itself is not a tort. Thus, the labeling of an action as one for

26     conspiracy to commit some tort is misleading since the cause of action for damages for conspiracy
2~     arises out ofthe commission of some wrongful act by one or more ofthe conspirators with damage

2s     resulting from it. See Unruh v. Truck Ins. Exh. (1972) 7 Cal. 3d 616, 631, 102 CalRptr. 81S, 498
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 X42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 96 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 97 of 100 Page ID #:97




 1

 2     P.2d 1063; Hendy v. Losse (1991) 54 Cal.3d 723, 732, 1 Cal. Rptr. 2d 543, 819 P.2d 1J
 3

 4     368.     The advantage gained in alleging a conspiracy is that the act of one during the conspiracy is
 5     the act of all if done in furtherance of the conspiracy. See Mox Inc. v. Woods(1927) 202 Cal. 675,
 6     678, 262 P.302; De Vries v. Brumback(1960)53 Cal. 2d 643, 2 Cal. Rptr. 764, 349 P.2d 532J.
 7

 8     369.    The liability ofthe defendants is thus joint and several. See Lomita Land &Water Co. v.
 9     Robinson (1908) 154 Cal. 36, 46, 97P.10, Prince v. Harting (1960) 177 Cal. App. 2d 720, 728, 2
io     Cal. Rptr. 545; Kesmodel v. Rand(2004) 119 Cal. App. 4`h 1128, 1143 IS Cal. Rptr. 3d 1181J
ii
12     370.    If the conspiracy is sufficiently pleaded, each participant in the conspiracy may be
13     responsible as a joint tortfeasor for all damages ensuing from the underlying wrong, regardless of
14     whether he or she was a direct actor or of the degree of his or her activity. See Bank of Cal. V.Pan
15     Am. Tire Corp.(1982) 132 Cal. App. 3d 843, 847-848, 183 Cal. Rptr. 4701.
16

1~     371.    Liability for civil conspiracy may be imposed even if the defendant committed no overt act
is     whatsoever and gained no benefit therefrom. See Mox Inc. v. Woods(1927)202 Cal. 675, 677-678,
19     262 P. 302; Wetherton v. Growers Farm Labor Assn (1969) 275 Cal. App. 2d 168, 176, 79 Cal.
Zo     Rptr. 543J.
21

zz     372.    Generally, those jointly and severally liable for tortious activity arising out of a conspiracy c
23     concerted action include all those who in pursuance of a common plan or design to commit a
24     tortious act, actively take part in it, further it by cooperation or request, lend aid or encouragement t
25     the wrongdoers, or ratify and adopt his or her acts done by their benefit. See Cully v. Blanca (1986)
26     186 Cal. App. 3d 1172, 1176, 231 Cal. Rptr. 279; Orser v. George (1967)252 Cal. App. 2d 660,
a~    667, 60 Cal. Rptr. 708; Sindell v. Abbott Labs(1980) 26 Cal. 3d 588, 604, 163 Cal. Rptr. 132, 607
2s    P.2d 924J
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
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      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 97 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 98 of 100 Page ID #:98




 1

 z     373.     A complaint for civil conspiracy states a cause of action only when it alleges the commission
 3     of a civil wrong that causes damage; although conspiracy may render additional parties liable for the
 4     wrong or increase the damages for which any one conspirator is liable, the conspiracy itself, no
 5     matter how atrocious, is not actionable without the wrong. See Okin v. Superior Court(1981) 29
 6     Cal. 3d 442, 454, 175 Cal. Rptr. 157, 629 P.2d 1369, Widdows v. Koch (1968) 203 Cal. App. 2d
       228, 234, 69 Cal. Rptr. 464.
 8

 9     374.    It is not essential that there be an agreement, as may be implied in the word "conspiracy", but
io     it is essential that each particular defendant charged with responsibility proceeded tortuously, that is,
it     with intent to commit a tort, or with negligence. See Orser v. George (1967) 252 Cal. App. 2d 660,
iz     667, 60 Cal. Rptr. 708J. Thus, each defendant is a tortfeasor, acting or failing to act in such a way as
13     to be concurrent legal cause of the damage to the plaintiff. See Summers v. Tice (1948) 33 Cal. 2d
i4     80, 84-85, 199 P.2d 1; Orser v. George (1967), supra.
15

16     375.    In one case, for example, the defendant was charged with conspiring with a doctor and
i~     sanitarium to falsely imprison the plaintiff in the sanitarium. The defendant was found liable as a
is     conspirator. Although there was no direct evidence of an agreement between the defendant and the
19     others charged in the conspiracy to falsely imprison the plaintiff, the fact that the defendant had a
zo     motive to want the sufficient to support the finding of conspiracy. See Peterson v. Cruickshank,
al    supra, (1950) 144 Cal. App. 2d 148, 300 P.2d 91S.
2z
23    376.     A person who joins a conspiracy after its inception is liable for acts ofthe conspiracy
24     committed prior to the time ofjoining. See De Vries v. Brumback(1960)53 Cal. 2d 643, 2 Cal.
as    Rptr. 764, 349 P.2d 532.
26

27

28
      Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
      1990 [42 U.S.C.§§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54, 54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
      seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981, 1985,& 1986, Violation of Cal
      Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
      IIED
      -Page 98 of 144
     Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 99 of 100 Page ID #:99




 i     377.      A person's membership in a conspiracy may be inferred from the nature of the acts done, the
 z     relation of the parties, and the interests ofthe conspirators. See Wyatt v. Union Mortgage Co. (1979)
 3     24 Cal 3d 773, 785, 157 Cal. Rptr. 392, 598 P.2d 45.
 4

 5     378.      Agents and employees may be liable under a conspiracy theory even though they are acting
 6     on behalf of another. See Revert v. Hesse (1920) 184 Cal. 295, 302-303, 193 P. 943
 7

 a     379.     Furthermore, if a person has entered a conspiracy calling for joint action, it is not a defense
 9     that the person's actual participation amounted only to advising the active member ofthe conspiracy
io     or acting as that member's agent. See Wetherton v. Growers Farm Labor Assn (1969) 275 Cal.
ii     App. 2d 168, 177, 79 Cal. Rptr. 543
12

13     380.     The basis of conspiracy liability is always a wrongful act that causes damage to a plaintiff.
14     See Wise v. S. Pac. Co (1963) 223 Cal. App. 2d S0, 64, 35 Cal. Rptr. 652; Riner v. Paskan (1963)
15     213 Cal. App. 2d 499, 503-504, 28 Cal. Rptr. 846, Peter v. Cruickshank(1956) 144 Cal. App. 2d
16     163, 300 P.2d 91S; Andrews v. Young (1937) 21 Cal. App. 2d 523, 526, 69 P.2d 891
17

ie     381.     Liability under a conspiracy theory exists when there has been formed and operated a
19     conspiracy to accomplish a criminal or unlawful purpose or a lawful purpose by criminal or
20     unlawful means which results in actual damage. See Clark v. Leshner (1951) 106 Cal. App. 2d 403,
21     409 235 P.2d 71.
22

23     382.     Although the act that causes plaintiffs damage must be wrongful, it need not be a criminal
24     act nor constitute a statutory violation. See Rogers v. GYua (1963)215 Cal. App. 2d 1, 7, 30 Cal.
25    ~ Rptr. 39.
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       Verified Complaint for Damages and Declaratory and Injunctive Relief for Violations of of the American With Disabilities Act of
       1990 X42 U.S.C. §§ 12203, 12101, Violation of Cal Civ. Code §§ 51,54,54.1 & 54.3, et seq., Violation of Cal Health & Saf§ 19955, et
       seq, Violation of Unruh Civil Rights Act, Violation of Cal Civ Code §§ 51.7, 52.1,42 U.S.C.§ 1981,1985,& 1986, Violation of Cal
       Civ Code Proc §§ 1159 & 1160, Civil Conspiracy, Negligence, Negligent Retention, Gross Negligence, Negligent IIED, Negligent
       IIED
       -Page 99 of 144
 Case 2:17-cv-01143-JAK-RAO Document 1 Filed 02/13/17 Page 100 of 100 Page ID #:100




 i   383.      Liability may be founded on conspiracy to commit an act that constitutes a tort, see Taylor v.
 z   S & MLamp Co. (1961) 190 Cal. App. 2d 700, 706, 12 Cal. Rptr. 323., and a specific injury is not
 3   required. Naverrete v. Meyer (201S) 237 Cal. App. 4`h 1276, 188 Cal. Rptr. 3d 623.
 4

 5   384.      A conspiracy involving the violation of a person's civil rights as defined by the Civil Code
 6   may be the basis of liability. See California Civil Code § 51 et seq.
 7

 8   385.     Such liability may be attach under the express language of the Code which provides aiding
 9   inciting another to discriminate are liable for the damages. See California Civil Code § 52(a),(b)
10

ii   386. In addition, the common-law rule applicable to joint tortfeasors will serve to impose liability
la   on those who are parties to an agreement or concerted action to violate the civil rights or another.
13   See Wagner v. O'Bannon (1969) 274 Cal. App. 2d 121, 132, 79 Cal. Rptr. 44
14

15   387. Liability for a conspiracy to violate the civil rights of a person may be found under federal
16   law as well as state. Under Section 1983 of Title 42 ofthe United States Code, an action may be
i~   brought against any persons conspiring to deprive a person of any right, privilege, or immunity
18   secured by the Constitution, as long as one ofthe conspirators is an agent of the state or the wrong
19   was otherwise under color of state law. See 42 U.S.C. ~ 1983; Fonda v. Gray (9`h Cir. 1983) 707
20   F.2d 435, 437
21

22   388. In addition, conspiracies to interfere with the civil rights of another are expressly actionable
23   under the Code. See 42 U.S.C. ~ 1985, Life Ins. Co. ofN. Am. V. Reichardt (9`" Cir. 1979) 591 F.2d
24   499, 502-506.
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     -Page 100 of 144
